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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK

 HERBERT SILVERBERG, Individually and
 on Behalf of All Others Similarly Situated,   Civil Action No.: 2:17-cv-04547-GRB-ARL

                           Plaintiff,

         v.                                         JURY TRIAL DEMANDED

 DRYSHIPS INC., GEORGE ECONOMOU,
 ANTHONY KANDYLIDIS, KALANI
 INVESTMENTS LIMITED, MURCHINSON
 LTD., and MARC BISTRICER,

                           Defendants.



        CONSOLIDATED SECOND AMENDED CLASS ACTION COMPLAINT
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       Lead Plaintiffs Robert Luke, Chayn Mousa, Mary Jane Silvey, Kamal Kheridden, and

Konrad Wottge (collectively, the “DRYS Investor Group” or “Plaintiffs”), by and through their

attorneys, and on behalf of all others similarly situated, allege the following upon information and

belief, except as to those allegations concerning Plaintiffs, which are alleged upon personal

knowledge. Plaintiffs’ information and belief are based on, among other things, their counsel’s

investigation, which includes without limitation: (a) a review and analysis of regulatory filings

made by DryShips Inc. (“DryShips” or the “Company”); (b) a review and analysis of press releases

and media reports disseminated by the Company; and (c) a review of other publicly available

information concerning Defendants. Plaintiffs believe that substantial additional evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

I.     SUMMARY OF THE ACTION

               This is a securities class action brought to pursue remedies under Sections 9(a),

10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule 10b-5

promulgated thereunder, against Defendants on behalf of all persons or entities that purchased, or

otherwise acquired, DryShips common stock between June 8, 2016 and August 29, 2017, inclusive

(the “Class Period”), and who were damaged thereby (the “Class”).

               This action arises from an undisclosed fraudulent agreement among Defendants

DryShips, George Economou (“Economou”), Anthony Kandylidis (“Kandylidis” and, collectively

with DryShips and Economou, the “DryShips Defendants”), and Kalani Investments Limited

(“Kalani”), a hedge fund owned and controlled by Defendants Murchinson Ltd. (“Murchinson”)

and Marc Bistricer (“Bistricer” and, collectively with Kalani and Murchinson, the “Kalani

Defendants”) to manipulate the price of DryShips common stock for the benefit of Defendants and

at the expense of investors who purchased DryShips common stock during the Class Period.

Defendants’ scheme, which enabled the DryShips Defendants to raise approximately $700 million

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from unsuspecting investors, has rendered those investors’ holdings of DryShips common stock

virtually worthless.

                DryShips, which owns drybulk carriers and offshore support cargo shipping vessels

operating worldwide, is headquartered in Athens, Greece, and is incorporated in the Marshall

Islands. Before it was taken private by Defendant Economou in October 2019, DryShips common

stock traded on the NASDAQ Capital Market (“NASDAQ”) under the ticker symbol “DRYS.” At

the beginning of the Class Period, DryShips was financially troubled and had a market

capitalization of only $60 million.         Economou himself admitted that the Company was

‘“practically bankrupt’ back in 2016.”1 Unable to access the U.S. securities markets to raise capital

by conventional means, DryShips met with Kalani in early 2016 and together they reached the

undisclosed agreement to manipulate DryShips share price alleged herein.

                Specifically, DryShips and Kalani agreed that: (i) DryShips would issue common

stock (or other securities convertible into its common stock) to Kalani on favorable terms in a

series of highly unusual PIPEs (private investment in public equity) transactions; (ii) DryShips

would manipulate its stock price to enable Kalani to profitably convert warrants and/or sell

DryShips common stock acquired in these transactions by conducting reverse stock splits

whenever DryShips’ stock price fell below the floor price specified in the PIPEs transactions; and

(iii) Kalani would convert the warrants and/or purchase the common stock in response to the price

increases occasioned by the reverse stock splits, thereby injecting capital into DryShips that could

be diverted to insiders and/or companies they controlled (the “Undisclosed Agreement” or

“Agreement”). As explained herein, in the absence of DryShips’ Undisclosed Agreement to

execute reverse stock splits to raise the market price of DryShips common stock above the floor


1
       Harry Papachristou, Economou on the art of perseverance, TRADEWINDS (May 31, 2018), http://www.trade
windsnews.com/tankers/1493029/economou-on-the-art-of-perseverance.

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price in the PIPEs transactions, Kalani would have had no incentive to continue converting the

warrants or purchasing DryShips common stock as the conversion/purchase price would have

substantially exceeded the market price of DryShips common stock. Accordingly, DryShips’

Undisclosed Agreement to manipulate its share price through reverse stock splits was the lynchpin

of the scheme.

                                           DRYS Reverse Splits: Only When Stock Price Dropped Below Floor Price
                              100

                                                        4:1                15:1                      8:1                 4:1     7:1       5:1       7:1
   DryShips Stock Price ($)




                               10




                                                                                  SPA 2
                                1
                                                                                  $1.50                    SPA 3-5
                                                                                  Floor Price              $1.00
                                                                                                           Floor Price
                                     SPA 1
                                     $0.37
                                     Floor Price
                               0
                              0.1
                              5/15/2016     7/15/2016         9/15/2016    11/15/2016            1/15/2017      3/15/2017      5/15/2017         7/15/2017
                                                                                                Date

                                     Splits         Price                 Floor Price 1                Floor Price 2              Floor Price 3


                                       As detailed herein, the terms of the PIPEs transactions and pattern of reverse stock

splits engaged in here were completely aberrational and strongly indicative of the Undisclosed

Agreement among Defendants to manipulate the price of DryShips common stock for Defendants’

benefit at the expense of investors. Indeed, the parties’ interactions make no economic sense in

the absence of such an Undisclosed Agreement among Defendants.

                                       Kalani, a hedge fund looking for short-term profits, had no legitimate incentive to

invest hundreds of millions of dollars in DryShips, which was teetering on the brink of bankruptcy.


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At the same time, DryShips would have had no motivation to engage in repeated costly reverse

stock splits that inflicted significant harm on shareholders unless it could count on additional

infusions of capital from Kalani. DryShips executed an unprecedented eight reverse stock splits

within a period of 18 months, leading to a cumulative split factor of 11,760,000 for one. This

many reverse stock splits, let alone this many in such a short period, is normally indicative of a

company in dire financial straits. Yet, DryShips’ binge of reverse stock splits coincided with

Kalani’s willing entry into five different PIPEs transactions for the purchase of hundreds of

millions of dollars in DryShips common stock. As explained more fully herein, this unprecedented

conduct gives rise to a more than plausible inference that Defendants agreed and intended from

the outset that they would undertake the number and scope of transactions they ultimately did to

the detriment of investors.

               In furtherance of their scheme, Defendants made numerous materially false and

misleading statements and omissions, including (i) that the reverse stock splits were in the “best

interests” of DryShips and shareholders and intended to bring the Company into compliance with

NASDAQ listing requirements when, in fact, Defendants were engaged in a scheme to manipulate

the price of DryShips common stock that was designed to enrich Defendants at the expense of

shareholders, and (ii) that DryShips intended to use the proceeds from the sales of securities to

Kalani “for general corporate purposes and/or to repay indebtedness” when, in fact, Defendants

intended to siphon the vast majority of the proceeds from the Company for the benefit of

Economou and Kandylidis.

               Defendants’ fraud has devasted DryShips’ investors.         The DryShips shares

purchased during the Class Period have been rendered virtually worthless by Defendants’ fraud.

In total, Defendants wiped out 99.999% of shareholder value in a matter of months.



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               In contrast, hundreds of millions of dollars that DryShips received from Kalani as

a result of the scheme was siphoned out of the Company by Individual Defendants Economou and

Kandylidis through a series of transactions with related entities they controlled.         In short,

Defendants treated the Company as nothing more than a vehicle to raise funds from unwitting

investors and funnel money to themselves, while investors were left holding the bag — the

quintessential type of manipulative scheme that the Exchange Act was designed to curb.

               Kalani also earned tens of millions of dollars in risk-free profits through its

immediate resale of the discounted DryShips common stock to unsuspecting investors and receipt

of millions of dollars in commitment fees from DryShips.

II.    JURISDICTION AND VENUE

               The claims asserted herein arise from §§9(a), 10(b) and 20(a) of the Exchange Act

(15 U.S.C. §§78i(a), 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. §240.10b-5).

               This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and §27 of the Exchange Act (15 U.S.C. §78aa).

               Venue is proper in this Judicial District pursuant to §27 of the Exchange Act and

28 U.S.C. §1391(b).

               In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

U.S. mail, interstate telephone communications, and the facilities of a national securities exchange.

III.   PARTIES

               Lead Plaintiff Robert Luke, as set forth in his certification (ECF No. 39-2),

purchased DryShips common stock during the Class Period and suffered damages as a result of

the federal securities law violations alleged herein.

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               Lead Plaintiff Chayn Mousa, as set forth in his certification (ECF No. 39-2),

purchased DryShips common stock during the Class Period and suffered damages as a result of

the federal securities law violations alleged herein.

               Lead Plaintiff Mary Jane Silvey, as set forth in her certification (ECF No. 39-2),

purchased DryShips common stock during the Class Period and suffered damages as a result of

the federal securities law violations alleged herein.

               Lead Plaintiff Kamal Kheridden, as set forth in his certification (ECF No. 39-2),

purchased DryShips common stock during the Class Period and suffered damages as a result of

the federal securities law violations alleged herein.

               Lead Plaintiff Konrad Wottge, as set forth in his certification (ECF No. 39-2),

purchased DryShips common stock during the Class Period and suffered damages as a result of

the federal securities law violations alleged herein.

               Defendant DryShips is a corporation incorporated under the laws of the Republic

of the Marshall Islands with its principal executive offices located at 109 Kifissias Avenue and

Sina Street, Marousi, 151 24, Athens, Greece. During the Class Period, DryShips’ common stock

traded on the NASDAQ under the ticker symbol “DRYS.” On October 11, 2019, the Company

was delisted from the NASDAQ after Economou took DryShips private through a merger with a

subsidiary of a company he owns and controls.

               Defendant Economou was, at all relevant times, the founder, controlling

shareholder, Chairman, and Chief Executive Officer (“CEO”) of DryShips. Throughout the Class

Period, Economou engaged in the fraudulent scheme alleged herein, which included making

materially false and misleading statements and omissions in the Company’s press releases and




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 SEC filings. At all relevant times, Economou made the false and misleading statements and

 omissions recklessly or with actual knowledge that they were false and misleading.

                Defendant Kandylidis was the Chief Financial Officer (“CFO”) and President of

 DryShips during the Class Period. Before December 2016, Kandylidis was DryShips’ Executive

 Vice President. On August 8, 2016, Defendant Kandylidis assumed the duties of interim CFO of

 DryShips. On December 16, 2016, DryShips announced that Defendant Kandylidis was appointed

 President and CFO of the Company. He was appointed to the Company’s Board of Directors (the

 “Board”) in July 2017. He is the nephew of Defendant Economou. Throughout the Class Period,

 Kandylidis engaged in the fraudulent scheme alleged herein which included making materially

 false and misleading statements and omissions in the Company’s press releases and SEC filings.

 At all relevant times, Kandylidis made the false and misleading statements and omissions

 recklessly or with actual knowledge that they were false and misleading.

                Defendant Kalani is an entity organized under the laws of the British Virgin Islands.

 Kalani is an investment vehicle established by Defendants Bistricer and Murchinson for financial

 transactions with the shipping industry.

                Defendant Murchinson is, upon information and belief, a Toronto-based hedge fund

 controlled by Defendant Bistricer. Murchinson is registered as a domestic for profit business entity

 in New Jersey, with the following address: 35 Laurel Ave, Clifton, NJ 07012. Together with

 Defendant Bistricer, Murchinson controls Kalani.

                Defendant Bistricer is, upon information and belief, the head of Murchinson and

 therefore controls Kalani. Upon information and belief, Bistricer resides at 4611 12th Avenue,

 Suite 1L, Brooklyn, New York 11219-2514, and additionally maintains properties at the following

 New Jersey addresses: (i) 119 3rd St, Lakewood, NJ 08701-3218; and (ii) 419 3rd St, Lakewood,



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 NJ 08701-2529. Upon information and belief, Bistricer met with representatives of Diana,

 DryShips, and Top Ships in New York in early 2016 to negotiate Kalani’s fraudulent agreement

 with each.

                   The Defendants referenced above in ¶¶21-22, 25 are sometimes collectively

 referred to herein as the “Individual Defendants.”

                   The Defendants referenced above in ¶¶20-25 are collectively referred to herein as

 the “Defendants.”

 IV.      SUBSTANTIVE ALLEGATIONS2

          A.       George Economou and DryShips

                   Defendant Economou is a Greek billionaire ship owner. Economou was number

 707 on the 2008 Forbes Magazine list of the world’s billionaires, with an estimated net worth of

 $1.7 billion.

                   DryShips operates primarily as an owner of vessels, the management and operation

 of which are contracted out to other entities, most of which are under the control of Economou.

                   Economou has served as DryShips’ founder, Chairman, and CEO since its

 incorporation in 2004. He also owns, controls, and serves as a director and/or officer of numerous

 other companies operating in the shipping industry, many of which enter into complex transactions

 with each other.        Since the Company’s initial public offering (“IPO”), DryShips has been

 completely dominated by Economou, which has earned DryShips the bottom spot on a Wells Fargo

 Securities scorecard ranking publicly owned shipping companies on their corporate governance,

 taking into account factors such as board independence and related party transactions.

 Economou’s nephew, Defendant Kandylidis, is a member of the Board.


 2
          Further detail on the agreements, sales, and reverse stock splits is summarized in the chart annexed hereto as
 Exhibit A. In addition, see Exhibit B for a table detailing DryShips’ stock price and VWAP across the Class Period.

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                 Economou has a history of underhanded transactions that have enriched him at the

 expense of investors. As an article in the Seatrade Maritime News commented: “For going on two

 decades, non-shipping investors typically of the retail variety, have been on the losing side of one

 deal after another, when it comes to Dryships (sic) or predecessor companies.”3 For example,

 Economou raised $175 million for Alpha Shipping Plc (“Alpha”) in 1998 by selling junk bonds,

 which were defaulted within one year of issuance leaving a number of Wall Street institutions with

 large losses. Economou then acquired most of Alpha’s fleet by paying $0.37 on the dollar to

 owners of its defaulted debt.

                 Economou has stated that he views Americans as ‘“the dumbest investors

 around[.]’”4

                 In DryShips, Economou, with the aid of Kalani, saw the opportunity to again enrich

 himself at the expense of investors.

         B.      Marc Bistricer and Kalani

                 Prior to its dealings with DryShips and two other Greek shipping companies, Diana

 Containerships, Inc. (“Diana”) and Top Ships, Inc. (“Top Ships”), Kalani was unknown to the

 public, organized in an offshore jurisdiction known for its secrecy, the British Virgin Islands.

                 Similarly, little is known about Bistricer or Murchinson, who control Kalani.

 Murchinson is, upon information and belief, a Toronto-based hedge fund controlled by Defendant

 Bistricer.




 3
         Barry Parker, DryShips’ George Economou - The smartest guy in the room, SEATRADE MARITIME NEWS
 (Aug. 15, 2017), http://www.seatrade-maritime.com/news/americas/dryships-george-economou-the-smartest-guy-in-
 the-room.html.
 4
         Kathryn M. Welling, The Golden Fleece?: DryShips’ Debut Shows Speculation, Liquidity Trumping
 Experience, WELLING@WEEDEN (Feb. 28, 2005), https://www.wellingonwallst.com/files/DDF/0704_SB_DRYS_
 LI_Klein.pdf.


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                  According to the Wall Street Journal, based on interviews with three Greek

 shipping executives, including Defendant Kandylidis, Kalani began approaching shipping

 companies in early 2016 to pitch the fraudulent scheme alleged herein. “Kalani’s idea was

 that it would buy newly issued shares directly from the shipping companies at a discount to the

 stock-market price, thus injecting cash into the companies.”5

                  DryShips was not the only company to avail itself of Kalani’s fraudulent scheme

 followings its advances in early 2016. At least two other shipping companies, Diana and Top

 Ships, engaged in a similar, though not nearly as extensive, series of fraudulent transactions with

 Kalani as alleged herein.

                  Shareholder lawsuits were filed against Kalani in connection with these schemes

 as well. And, as is the case with respect to DryShips, Top Ships’ scheme also triggered an SEC

 investigation, which is ongoing.

         C.       Defendants’ Fraudulent Scheme

                  1.       June-August 2016: Defendants Launch Their Scheme to Manipulate
                           the Market for DryShips Common Stock

                  In early 2016, Defendant Kandylidis, acting on behalf of DryShips, met with

 Defendant Bistricer, acting on behalf of Kalani, in New York “about helping DryShips raise

 capital.”6 The meeting resulted in the Undisclosed Agreement pursuant to which Kalani, through

 a series of PIPEs transactions, would receive significant quantities of DryShips common stock (or



 5
          Spencer Jakab, A Shipping Company’s Bizarre Stock Maneuvers Create High Seas Intrigue, WALL ST. J.
 (July 13, 2017, 12:21 PM ET), https://www.wsj.com/articles/a-shipping-companys-bizarre-stock-maneuvers-create-
 high-seas-intrigue-1499960367 (attached hereto as Exhibit C).
 6
          Id. As described by the WSJ, Kalani successfully pitched a substantially similar scheme to Diana and Top
 Ships. Diana consummated its agreement to Kalani’s scheme in March 2017, when it entered its own PIPEs
 transaction with Kalani, having conducted its first of four reverse stock splits in June 2016. Top Ships likewise
 disclosed in February 2017 that it had also consummated a PIPEs transaction with Kalani. Top Ships conducted five
 reverse stock splits between May 2017 and March 2018.


                                                        10
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 other securities convertible into its common stock) at a discount, thereby injecting cash into the

 Company. In return, DryShips and its insiders promised that they would use reverse stock splits

 as necessary to artificially and repeatedly raise the price of DryShips stock above the floor price

 specified in the PIPEs transactions to allow Kalani to immediately recoup its “investment” and

 generate trading profits by unloading its newly acquired shares into the market. Pursuant to this

 Undisclosed Agreement, the DryShips Defendants raised hundreds of millions of dollars from

 unwitting investors that was then funneled to Defendants and other DryShips-related parties while

 Kalani earned tens of millions of dollars in profits from selling DryShips common stock.

                The DryShips Defendants arranged and executed the first step in their Agreement

 with Kalani on March 11, 2016, when DryShips announced that it had executed a 25-for-one

 reverse stock split, reducing the number of outstanding common shares from approximately 672

 million to approximately 26.9 million.7 The reverse stock split raised the price of DryShips’ shares

 from just $0.10 to $2.15. In addition, to ensure they were able to execute additional reverse stock

 splits as necessary to carry out their Undisclosed Agreement with Kalani, the DryShips Defendants

 made plans to seize voting control of the Company. As a first step, on March 24, 2016, DryShips

 announced that, pursuant to a financing agreement with Sifnos Shareholders Inc. (“Sifnos”), a

 financing company controlled by Economou, Sifnos would exchange all of its DryShips Series B

 Preferred Shares for $8.75 million of debt. Although DryShips’ only outstanding class of stock

 following this transaction was common stock, under the terms of the financing agreement,

 DryShips had the right to convert the $8.75 million in debt to Sifnos into 3.5 million “new”

 DryShips preferred shares, having five times the voting power of a common share, although it was




 7
        See DryShips Inc., Form 6-K (March 11, 2016).

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 stated that these new preferred shares would be converted into common stock on a 1:1 basis within

 three months after such conversion.

                Thereafter, the DryShips Defendants took the necessary steps to get the Company’s

 shares into Kalani’s hands. On June 8, 2016, DryShips entered into the first of five PIPEs

 transactions with Kalani (the “June 8 SPA”). Pursuant to the June 8 SPA, Kalani purchased: (a)

 5,000 newly designated Series C Convertible Preferred Shares; (b) warrants to purchase 5,000

 additional Series C Convertible Preferred Shares, and 148,998 common shares for immediate

 proceeds of approximately $5 million, or up to $10 million in total if all warrants were exercised.

 The securities were issued pursuant to a Registration Statement, filed with the SEC on May 7,

 2015 (the “2015 Registration Statement”). DryShips also filed a Prospectus Supplement with the

 SEC on June 8, 2016, which became part of the 2015 Registration Statement.

                At its option, Kalani could convert each Series C warrant into the Series C

 Convertible Preferred Shares at an exercise price of $1,000 per preferred share.8 The June 8 SPA

 contained provisions that adjusted the exercise price to protect Kalani against reverse stock splits

 impacting the Series C Convertible Preferred Shares.9

                The Series C Preferred Shares were convertible into DryShips common stock at any

 time at Kalani’s option.10 There was no lock-up period or other meaningful restriction on Kalani’s

 ability to dispose of the shares immediately upon conversion. More importantly, Kalani was able

 to convert its preferred stock into common stock at discounted prices. The numbers of shares of

 common stock issuable upon conversion of each preferred share was equivalent to its stated value


 8
        See June 8, 2016 Prospectus Supplement at S-28.
 9
        See June 8, 2016 Form of Series C Warrant, §2.
 10
        See June 8, 2016 Statement of Designations §4(a) (attached hereto as Exhibit D).



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 ($1,000) divided by the conversion or strike price, which was set at $2.7511 unless the volume-

 weighted average price (“VWAP”) of DryShips’ common stock as reported by Bloomberg was

 less.12 In that event, Kalani was able to elect to reduce the conversion or strike price to “the higher

 of (x) 75% of the lowest VWAP of the Common Stock for any Trading Day during the twenty-

 one (21) consecutive Trading Day period ending on, and including, the Trading Day immediately

 prior to such date of determination [or] (y) the Floor Price” of $0.37.13 If the market price of

 DryShips stock fell to or below the Floor Price, Kalani had no incentive to exercise its conversion

 right as it had no means of immediately profiting from the common shares it would receive at an

 above market price and it had no intention of holding them.

                  Importantly, the terms of the June 8 SPA were unusual in the context of PIPEs

 transactions, as Kalani was effectively insulated from any risk, and was not restricted from trading

 the common shares it would ultimately obtain in a dilutive manner. In particular, Kalani was only

 required to establish a very limited upfront long position of $5 million for the initial batch of 5,000

 Series C Convertible Preferred Shares it acquired under the June 8 SPA. It also received 148,998

 shares of DryShips common stock and warrants to purchase an additional 5,000 Series C

 Convertible Preferred Shares for which Kalani paid no upfront consideration. While warrants are

 often granted to the investor in PIPEs transactions, they typically are provided for consideration

 and a more significant upfront financing commitment, even in a distressed situation. Moreover,

 the floor price established for the conversion of the preferred stock was not market standard, and

 encouraged the dilution of common stock. Typically, issuers completing a private placement of


 11
        Id. at §§4(b), 30(rr).
 12
        Id. at §4(f)(i).
 13
        Id.



                                                   13
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 convertible securities will establish a floor price of 50-75% of their prevailing share price at the

 time of closing.14       Bucking this, the floor at which Kalani agreed to buy DryShips was

 approximately 30% of the price of its common stock, then trading at about $1.19.

                  While the terms of the June 8 SPA do not make sense in the context of a typical

 arm’s length commercial transaction, they do when considered in the context of the Defendants’

 wider, Undisclosed Agreement. In fact, in the June 8 SPA, Defendants created the perfect vehicle

 to implement their Undisclosed Agreement and bind the participants to its execution. Kalani could

 — but was not obliged to — convert their securities to common stock. They would, therefore,

 only do so when they could take advantage of a price spike, thereby shielding them from any risk

 of loss. If no such price spike was forthcoming, they were not obliged to outlay any further funds

 than the initial $5 million, the recoupment of which had already been ensured through the March

 11, 2016 reverse stock split. The DryShips Defendants, for their part, desirous of the injections of

 funds that each conversion would bring, were deliberately incentivized to induce the agreed-upon

 price rises via reverse stock splits and thereby facilitate Kalani’s trading profits, despite the injury

 necessarily caused to DryShips’ shareholders. Thereby, the June 8 SPA (and the subsequent PIPEs

 transactions between DryShips and Kalani) solved any would-be conspiracy’s number one

 problem — how to self-police the parties’ obligations and reduce both the possibility and harm of

 “cheating.”

                  Neither DryShips nor Kalani disclosed that DryShips would necessarily have to

 conduct multiple reverse stock splits for Kalani to exercise the Series C Warrants and inject capital




 14
          Dresner, Steven, E. Kim. PIPEs: A Guide to Private Investments in Public Equity, 2nd Edition. Wiley
 Professional, Reference & Trade, 20100520, Chapter 9 (“To negate the potentially unlimited dilution of a [floating or
 variable conversion price], recent transactions have included minimum conversion prices, or ‘floors.’ Floors are
 typically set between 50 percent and 75 percent of the market price at closing of the transaction. Floors serve to
 control the ultimate dilution of an issuance yet still provide some risk mitigation for the investor.”)

                                                         14
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 into the company, nor that DryShips had previously agreed to do so. They also did not disclose

 that Kalani intended, with the DryShips Defendants’ knowledge and consent, to immediately sell

 any securities that it converted into the secondary market. These omissions left investors with the

 misleading impression that Kalani was a sophisticated independent investor willing to invest in

 DryShips’ future.

                   Immediately following the execution of the June 8 SPA, Kalani began converting

 the Series C Preferred Shares into DryShips common stock and selling the common stock into the

 market. In this regard, in its Form 6-K containing its financial results for the second quarter of

 2016, DryShips disclosed that, as of August 7, 2016, 4,635 of the 5,000 Series C Convertible

 Preferred shares had been converted to 12,719,431 common shares.15 As Kalani never filed a

 Form 13D recording its ownership of more than 5% of DryShips’ common stock despite the large

 volumes of DryShips common stock it received,16 it is clear that Kalani sold the common stock it

 received upon conversion into the market. Indeed, between June 8, 2016 and August 12, 2016,

 DryShips’ total outstanding common stock rose from approximately 26.9 million shares to 39.75

 million. During this period, the price fell precipitously from approximately $1.19 to approximately

 $0.32 under the weight of Kalani’s selling, a decline of 73%. The decline in DryShips’ stock price

 was the inevitable result of Kalani’s receipt and sale of 12.7 million shares of DryShips common

 stock in the immediate aftermath of the June 8 SPA’s announcement. The issuance of these 12.7

 million shares during this period constituted an increase of almost 50% in the number of DryShips

 shares outstanding at the time of the June 8 SPA.



 15
          See DryShips Inc., Form 6-K (August 9, 2016).
 16
           Given the volume of common stock it received across 2016 and 2017, and the limited size of DryShips’ float
 as a result of the reverse stock split, Kalani could only have avoided holding a 5% stake in DryShips if it immediately
 sold down all the common stock it received pursuant to the PIPEs transactions.


                                                           15
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                In view of the foregoing, on August 1, 2016, DryShips announced its intention to

 conduct another reverse stock split to raise its stock price.17 Although the purported reason for the

 reverse stock split was to regain compliance with the Nasdaq Capital Market minimum bid price

 requirement, in fact, its true purpose was to raise DryShips’ stock price above the floor price in

 the June 8 SPA and incentivize Kalani to continue exercising the warrants for Series C Preferred

 Shares issued in the June 8 SPA. Days later, on August 10, 2016, Kalani exercised the warrants

 and DryShips issued an additional 5,000 Series C Convertible Preferred Shares to Kalani.

 DryShips executed the previously announced four-for one reverse stock split on August 15, 2016,

 reducing the number of outstanding common shares from 39,750,275 shares to approximately 9.9

 million shares. The reverse stock split lifted the share price from $0.32 to $1.05. However, this

 increase did not offset the loss in value to shareholders from having their shares merged, and the

 price of the shares actually declined over 19% on a split-adjusted basis. Moreover, the increase in

 DryShips stock price was short-lived. DryShips stock price remained above $1.00 for only a few

 days before it began to fall again due to Kalani’s selling.

                As intended, with DryShips common stock trading back above the floor price of

 $0.37, Kalani could continue to convert its preferred shares into common shares and then

 immediately dump these into the market. Indeed, between August 15, 2016 and October 31, 2016,

 DryShips’ total shares outstanding rose approximately 72% from approximately 9.9 million shares

 to 17 million. During the same period, the price of DryShips’ common stock collapsed again under

 the weight of Kalani’s selling, and by the end of October, the price of DryShips common stock

 had fallen back to approximately $0.31 per share. This price was 70% below the closing price of




 17
        See DryShips Inc., Form 6-K (August 1, 2016).

                                                        16
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 the Company’s shares on August 15, 2016, after the Company’s previously announced four-for-

 one stock split took effect.

                   2.       September-October 2016: Defendant Economou Locks Up Voting
                            Control of the Company and Approves Additional Reverse Stock Splits
                            to Further the Fraudulent Scheme

                   To prevent the financing scheme from running its course before Defendants could

 maximize their own returns, Defendant Economou sought to lock up voting control of the

 Company, so additional reverse stock split proposals were guaranteed approval.

                   Accordingly, on September 9, 2016, DryShips and the Economou-controlled Sifnos

 entered into an agreement to convert DryShips’ $8.75 million debt to Sifnos into 3.5 million new

 DryShips Class D Preferred Shares. However, although their earlier agreement of March 24, 2016

 had provided that the new preferred shares issued upon conversion would have a voting power of

 5:1 (vis-à-vis common stock) and would be mandatorily converted into common stock on a 1:1

 basis within 3 months after such conversion, without explanation and seemingly for no

 consideration, the Series D Preferred Shares issued to Sifnos had 100,000 times the voting power

 of a common share, and the previously agreed mandatory conversion provision was removed,

 allowing Sifnos and Economou to retain their voting control indefinitely.18

                   A few weeks later, Economou announced his intention to exercise his voting control

 to approve additional reverse stock splits in furtherance of the scheme. On September 23, 2016,

 DryShips filed a Form 6-K that included the Company’s Notice of Annual General Meeting and

 Proxy Statement for the Company’s Annual General Meeting of Shareholders to be held on

 October 26, 2016. The Proxy Statement for the Annual General Meeting, signed by Economou,

 informed shareholders that the Board was soliciting shareholder approval of an amendment to the


 18
          Diana Containerships also granted super voting right shares to its affiliate Diana Shipping, Inc. in May
 2017 to secure approval of a shareholder resolution seeking approval for further reverse stock splits.

                                                          17
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 Company’s Amended and Restated Articles of Incorporation, which would allow the Board to

 effect one or more reverse stock splits of the Company’s common shares at the extreme ratio of

 up to 1,000-for-one in the aggregate without further shareholder approval.

                The DryShips Defendants assured investors that “[t]he Board of Directors intends

 to effect one or more reverse stock splits . . . only if it believes that a decrease in the number of

 Common Shares outstanding is likely to improve the trading price for the Company’s Common

 Shares, and only if the implementation of a reverse stock split is determined by the Board of

 Directors to be in the best interests of the Company and its shareholders.”19 These statements were

 materially false and misleading because, (i) the reverse stock splits did not — and could not —

 “improve the trading price” for any sustained period given that they were being conducted to

 permit Kalani to flood the market with its discounted common shares pursuant to the Defendants’

 Undisclosed Agreement, and (ii) in fact, Defendants were conducting reverse stock splits to

 manipulate DryShips’ stock price and benefit themselves at the expense of investors.

                On October 27, 2016, the DryShips Defendants announced the foregone conclusion

 that the reverse stock split proposal was approved at the adjourned Annual General Meeting.20

                3.       November 2016: The Scheme Continues with Another Reverse Stock
                         Split and Second Agreement with Kalani

                With shareholders’ voting rights effectively eliminated, Defendants were free to

 execute their fraudulent scheme at will. Mere days later, on November 1, 2016, the DryShips

 Defendants executed a 15-for-one reverse stock split, reducing the number of common shares

 outstanding from 17,025,140 shares to approximately 1.1 million and raising the stock price from




 19
        See DryShips Inc., Form 6-K (September 23, 2016).
 20
        See DryShips Inc., Form 6-K (October 27, 2016).


                                                     18
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 $0.31 to $4.35.21 However, this increase did not offset the loss in value to shareholders from

 having their shares merged, and the price of the shares actually declined over 6% on a split-

 adjusted basis. With the conversion price comfortably above the floor price, Kalani resumed

 converting the Series C Convertible Preferred Shares and, by November 18, 2016, all 10,000 of

 the Series C Convertible Preferred Shares Kalani had acquired pursuant to the June 8 SPA had

 been converted into common shares.

                  Following an inexplicable price spike for a few weeks in the middle of November

 that prompted NASDAQ to temporarily halt trading for a day, DryShips stock price returned to its

 prior $4.00-$5.00 range by November 28.22

                  On November 17, 2016, the same day NASDAQ allowed DryShips stock to resume

 trading, DryShips issued a press release23 announcing a second PIPEs transaction with Kalani (the

 “November 16 SPA”). Pursuant to the November 16 SPA, Kalani purchased: (a) 20,000 newly

 designated Series E-1 Convertible Preferred Shares; (b) preferred warrants to purchase 30,000

 Series E-1 Convertible Preferred Shares (“E-1 Warrants”); (c) preferred warrants to purchase

 50,000 newly designated Series E-2 Convertible Preferred Shares (“E-2 Warrants”); (d) prepaid

 warrants to initially purchase an aggregate 372,874 common shares; and (e) 100 common shares,

 for immediate proceeds of approximately $20 million, or up to $100 million in total if all warrants

 were exercised. The securities were issued pursuant to the 2015 Registration Statement. DryShips


 21
         See DryShips Inc., Form 6-K (November 1, 2016).
 22
          Diana and Top Ships also experienced unexplained spikes in their stock prices during the same period. These
 movements were highly suspicious as they were completely aberrational compared to the stock price movements of
 other shipping companies. For example, from November 7 to November 16, 2016, the stock prices of DryShips,
 Diana, and Top Ships increased by 1486%, 469%, and 175%, respectively, whereas other shipping companies
 experienced only modest price movements during this period. For example, Scorpio Tankers Inc. was up 15%, Nordic
 American Tankers Ltd. was up 17%, Teekay Tankers Ltd. was up 10%, and Maersk was down 10%.
 23
         See DryShips Inc., Form 6-K (November 17, 2016).


                                                         19
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 also filed a Prospectus Supplement with the SEC on November 17, 2016, which became part of

 the 2015 Registration Statement.

                   At its option, Kalani could convert each E-1 and E-2 Warrant into the E-1 and E-2

 Convertible Preferred Shares, at an exercise price of $1,000 per preferred share.24 The Defendants’

 agreement contained provisions that adjusted the exercise price to protect Kalani against reverse

 stock splits impacting the E-1 and E-2 Convertible Preferred Shares.25

                   As was the case with the Series C Convertible Preferred Shares, the Series E-1

 Convertible Preferred Shares were convertible at any time at Kalani’s option.26 There was no

 lock-up period or other meaningful restriction on Kalani’s ability to dispose of the shares

 immediately upon conversion. Additionally, Kalani was once again able to convert the preferred

 shares into common stock at discounted prices. The number of shares of common stock issuable

 upon conversion of each preferred share was equivalent to its stated value ($1,000) divided by the

 conversion or strike price, which was set at $3027 unless the VWAP of DryShips’ common stock

 as reported by Bloomberg was less.28 In that event, Kalani was able to elect to reduce the

 conversion or strike price to “the higher of (x) 77.5% of the lowest [daily volume weighted average

 price] of the Common Stock for any Trading Day during the fourteen (14) consecutive Trading

 Day period ending on, and including, the Trading Day immediately prior to [the conversion date]




 24
         See November 16, 2016 E-1 Statement of Designations, at §30(vv) (attached hereto as Exhibit E); November
 16, 2016 E-2 Statement of Designations, at §30(vv) (attached hereto as Exhibit F).
 25
         Id. at §8(a).
 26
         Id. at §4(a).
 27
         Id. at §§4(b), 30(vv).
 28
         Id. at §4(f)(1).



                                                       20
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 and (y) the Floor Price of [$1.50].”29 As before, if the market price of DryShips stock fell to or

 below the Floor Price, Kalani had no incentive to exercise its conversion right as it had no means

 of immediately profiting from the common shares it would receive at an above market price and it

 had no intention of holding them.

                 The terms of the Series E-2 shares were substantially similar to the terms of the

 Series E-1 shares, except the reduced conversion or strike price Kalani could elect was equal to

 “the higher of (x) 85% of the lowest [daily volume weighted average price] of the Common Stock

 for any Trading Day during the twenty-one (21) consecutive Trading Day period ending on, and

 including, the Trading Day immediately prior to [the conversion date] and (y) the Floor Price of

 [$1.50].”30

                 Once again, the terms of the E-1 and E-2 Convertible Preferred Shares represented

 a significant departure from traditional PIPEs transactions because Kalani bore no risk and was

 not restricted from immediately trading the shares in a dilutive manner. Further, the $1.50 Floor

 Price was approximately 15% of DryShips’ share price at closing (when it is 50-75% in a typical

 PIPEs transaction).

                 4.        December 2016-January 2017: The Scheme Continues with a Third
                           Agreement with Kalani as Underwriter, More Dilutive Stock Sales, and
                           a Fourth Reverse Stock Split

                 On December 12, 2016, DryShips announced that the initial 20,000 Series E-1

 Convertible Preferred Shares, the E-1 and E-2 Convertible Preferred Shares issued due to the

 exercise of the preferred warrants and the prepaid warrants had been converted and/or exercised

 into 31,932,629 common shares, with approximately $100 million of gross proceeds raised. As



 29
        Id. at §§4(f)(1), 30(e).
 30
        Ex. F at §§4(f)(1), 30(e).

                                                 21
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 before, Kalani immediately sold the common stock it received upon conversion into the market

 once again driving down DryShips’ share price.             Indeed, between November 1, 2016 and

 December 12, 2016, DryShips’ total shares outstanding rose from 1.1 million shares to 33.8

 million, an increase of 2972%.

                A few weeks later, on December 27, 2016, DryShips announced that it had entered

 into a third PIPEs transaction with Kalani for the sale of up to $200 million of shares of DryShips

 common stock (the “December 27 Agreement”). In addition, pursuant to the agreement, DryShips

 “agreed to issue up to $1.5 million of its common stock to Kalani as a commitment fee.” 31 The

 securities were issued pursuant to the 2015 Registration Statement. DryShips also filed a

 Prospectus Supplement with the SEC on December 27, 2016, which became part of the 2015

 Registration Statement.

                Although the December 27 Agreement differed from the prior two agreements in

 that it did not involve convertible preferred shares, it still ensured Kalani risk-free profits unlike a

 typical PIPEs transaction. Again, Kalani was not restricted from immediately trading the shares

 in a dilutive manner. In addition, Kalani again purchased the shares at a discounted price “equal

 to the product of (i) 0.94; and (ii) the lowest daily VWAP that equals or exceeds the applicable

 Floor Price [of $1.00 per share subject to adjustments] during the applicable Pricing Period.”32

 This represented a significant discount to DryShips’ publicly traded market price and immediate,

 substantial profits for Kalani. Additionally, the $1.00 Floor Price was 25% of DryShips’ share

 price of $4.00 on December 27 rather than the 50-75% in a typical PIPEs transaction.




 31
        See DryShips Inc., Form 6-K (December 27, 2016).
 32
        See Common Stock Purchase Agreement dated as of December 23, 2016 at §2.2 (attached hereto as Exhibit
 G).

                                                     22
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                   Moreover, although purchases of common stock pursuant to the December 27

 Agreement appeared to occur at DryShips’ option rather than Kalani’s, in fact, Kalani was still in

 the driver’s seat. In this regard, although the agreement provided that DryShips could issue a Fixed

 Request Notice to Kalani requesting that Kalani purchase common stock under the agreement, the

 agreement placed volume, pricing, and timing limits on these Fixed Requests that protected Kalani

 and ensured its ability to profit from any shares it purchased under the agreement. First, the total

 Fixed Amount Kalani was obligated to purchase would be reduced proportionately for every day

 during the Pricing Period (a period of eight consecutive trading days) that the VWAP of DryShips’

 common stock was lower than the floor price.33 Second, the Fixed Request could not exceed $1

 million.34 Third, DryShips could submit only one Fixed Request to Kalani in any Pricing Period.35

 And fourth, five days were required to elapse between Pricing Periods.36

                   In view of these restrictions, the only way DryShips could receive a meaningful

 influx of capital pursuant to the December 27 Agreement was if Kalani exercised its options to (a)

 waive one or more of the foregoing protections in connection with a Fixed Request, and/or (b)

 purchase additional shares offered by DryShips over and above the Fixed Amount in the Fixed

 Request Notice (the “Optional Amount”).37 Of course, Kalani would not agree to do any of these

 things unless it could guarantee itself a profit.


 33
           Id. at §2.6. Pursuant to the agreement, 12.5% of the Fixed Request shares were issued each trading day
 during the pricing period. Therefore, for each trading day during the pricing period that the VWAP was below the
 floor price, the Fixed Request amount was reduced by 12.5% unless Kalani agreed otherwise.
 34
         Id. at §2.1; see also id. at Annex A, p. 59 (Definition of “Maximum Fixed Amount Requested”).
 35
         Id. at §2.4.
 36
         Id.
 37
          Kalani had the option to waive the $1 million limit of the Fixed Request Amount (see id. at §2.2) and to
 shorten the Pricing Period (see id. at §2.3 & Annex A). Additionally, under the terms of the agreement, each Fixed
 Request Notice to Kalani also offered Kalani the option to purchase additional shares of DryShips common stock at a


                                                         23
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                   This is precisely what occurred.             During the pendency of the December 27

 Agreement, which closed on January 31, 2017 (a period of 35 days), given the eight-day Pricing

 Period, requirement of five days between Pricing Periods, and limit of one Fixed Request per

 Pricing Period, the maximum number of Fixed Requests DryShips could have made was three for

 a total of $3 million, meaning that, at least, $197 million in common shares issued pursuant to the

 December 27 Agreement were purchased at Kalani’s option. Specifically, notwithstanding the

 January Agreement’s cap on the amount and frequency of Fixed Request Notices, Kalani agreed

 to waive those protections and purchase $167.5 million in shares pursuant to six Fixed Request

 Notices during a roughly 30 day period from December 27, 2016 through January 30, 2017, but

 only after receiving additional price concessions that resulted in it receiving nearly four million

 more shares than it would have received using the contract price.38 In addition, Kalani agreed to

 purchase $32.5 million in Optional Amount shares.

                   As before, Kalani immediately sold the DryShips common stock it acquired

 pursuant to the December 27 Agreement into the market and DryShips’ share price once again

 collapsed:

          a. On January 9, 2017, DryShips filed a Prospectus Supplement and announced that the

              Company had sold 14,090,507 common shares to Kalani at an average price of $3.05

              per share, increasing the number of outstanding common shares to 48,003,563.

          b. On January 13, 2017, DryShips filed a Prospectus Supplement and announced that the

              Company had sold an additional 21,150,054 shares to Kalani at an average price of




 discount to a specified floor price. Id. at §2.9. Kalani was free to exercise all or a portion of the Optional Amount.
 Id.
 38
    See DryShips Inc., Form 6-K (January 9, 2017); DryShips Inc., Form 6-K (January 13, 2017); DryShips Inc.,
 Form 6-K (January 20, 2017); DryShips Inc., Form 6-K (January 30, 2017).

                                                          24
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            approximately $2.04 per share, increasing the number of outstanding common shares

            to 69,333,763.

        c. On January 20, 2017, DryShips filed a Prospectus Supplement and announced the

            Company had sold an additional 38,600,767 shares to Kalani at an average price of

            approximately $1.15 per share, increasing the number of outstanding common shares

            to 107,934,530.

                   Thus, in less than two weeks, DryShips’ reported that the number of shares of

 DryShips’ common stock outstanding had risen 218% from 33,913,056 to 107,934,530. Not

 surprisingly, the price of DryShips common stock plummeted in response to Kalani’s selling.

 Indeed, since the Company’s previously announced reverse stock split on November 1, 2016,

 DryShips’ stock price had fallen nearly 77%, from $4.35 at the close on November 1, 2016 to

 $1.01 on January 20, 2017.

                   With the market price of DryShips common stock approaching the $1.00 Floor

 Price in the December 27 Agreement due to Kalani’s heavy selling, on January 23, 2017, DryShips

 executed an eight-for one reverse stock split, reducing the number of outstanding common shares

 from 107,934,530 shares to approximately 13.5 million shares and raising the stock price from

 $1.01 to $5.40.39 However, this increase did not offset the loss in value to shareholders from

 having their shares merged, and the price of the shares actually declined over 33% on a split-

 adjusted basis.

                   With the share price again comfortably over the Floor Price, Kalani resumed its

 purchases of common stock under the December 27 Agreement and its sales of those shares into

 the market. On January 30, 2017, DryShips filed a Prospectus Supplement and announced the



 39
        See January 30, 2017 Prospectus Supplement.

                                                      25
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 Company had sold an additional 22,539,773 shares to Kalani at an average price of $3.08 per share,

 nearly tripling the number of outstanding common shares to 36,253,870.

                The following day, DryShips announced that it had completed the sale of $200

 million in DryShips shares to Kalani, pursuant to the December 27 Agreement, raising net

 proceeds for the Company of $198 million. Following the completion of those sales, 36,253,870

 common shares were outstanding. Based on information and belief, Kalani made at least $30

 million from the December 27 Agreement (including: (i) the $1.5 million commitment fee; (ii) a

 conservative estimate of Kalani’s profit from buying and reselling shares at a discount equal to 6%

 of $200 million, or $12 million); and (iii) approximately $17 million in profits from selling into

 the market the roughly four million additional shares it received as a result of pricing concessions

 it received from DryShips in return for accepting larger and more frequent Fixed Request Notices

 than permitted by the January Agreement)..

                5.      February-March 2017: The Scheme Continues with a Fourth
                        Agreement with Kalani and More Dilutive Stock Sales

                With the scheme practically minting money for Defendants by this point,

 Defendants lost no time announcing another PIPEs transaction with Kalani for the sale of an

 additional $200 million of shares of common stock to Kalani (the “February 17 Agreement”).

 Once again, pursuant to the agreement, DryShips agreed to issue $1.5 million in common stock to

 Kalani as a commitment fee. The securities were issued pursuant to the 2015 Registration

 Statement. DryShips also filed a Prospectus Supplement with the SEC on February 17, 2017,

 which became part of the 2015 Registration Statement.

                The February 17 Agreement operated in the identical manner as the December 27

 agreement and contained the same volume, pricing, and timing protections for Kalani that ensured




                                                 26
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 it a risk-free profit.40 As a result, once again, the overwhelming majority of shares issued and sold

 under the February 17 Agreement were at Kalani’s option. During the pendency of the February

 17 Agreement, which closed on March 17, 2017 (a period of 28 days), given the eight-day Pricing

 Period, requirement of five days between Pricing Periods, and limit of one Fixed Request per

 Pricing Period, the maximum number of Fixed Requests DryShips could have made was two for

 a total of $2 million, meaning that, at least, $198 million in common shares issued pursuant to the

 February 17 Agreement were purchased at Kalani’s option. Specifically, notwithstanding the

 February Agreement’s cap on the amount and frequency of Fixed Request Notices, Kalani agreed

 to waive those protections and purchase $185 million in shares pursuant to three Fixed Request

 Notices during a roughly three-week period from February 21, 2017 through March 16, 2017, but

 only after receiving additional price concessions that resulted in it receiving approximately 2.6

 million more shares than it would have received using the contract price. 41 In addition, Kalani

 agreed to purchase $15 million in Optional Amount shares.

                  As before, Kalani’s heavy selling of the shares acquired pursuant to the February

 17 Agreement flooded the market and drove down DryShips share price:

         a. On February 24, 2017, DryShips announced that the Company had sold 22,482,371

             shares to Kalani at an average price of $2.45 per share, increasing the number of

             outstanding common shares to 58,836,362.42




 40
         See Common Stock Purchase Agreement dated as of February 17, 2017 (attached hereto as Exhibit H).
 41
          See DryShips Inc., Form 6-K (February 24, 2017); DryShips Inc., Form 6-K (March 3, 2017); DryShips
 Inc., Form 6-K (March 17, 2017).
 42
         See DryShips Inc., Form 6-K (February 24, 2017).


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        b. On March 3, 2017, DryShips announced that the Company had sold an additional

              44,958,830 shares to Kalani at an average price of $1.67 per share, increasing the

              number of outstanding common shares to 103,974,393.43

        c. On March 17, 2017, DryShips announced that the Company sold an additional

              45,505,878 shares to Kalani at an average price of approximately $1.47 per share,

              increasing the number of outstanding shares to 152,055,576.44

                  Thus, in a period of only three weeks, DryShips reported that the number of

 outstanding shares of DryShips common stock had increased 318%. Moreover, as a result of

 Kalani’s sales, by March 17, 2017, DryShips’ stock price had declined 69% since the Company’s

 previously announced eight-for-one reverse stock split on January 23, 2017.

                 On March 17, 2017, DryShips announced that it had completed the previously

 announced $200 million share offering with Kalani, pursuant to the February 17 Agreement,

 raising net proceeds for the Company of $198 million.45 Following the completion of those sales,

 152,055,576 common shares were outstanding. Based on information and belief, Kalani made at

 least $18.5 million from the February 17 Agreement (including: (i) the $1.5 million commitment

 fee; (ii) a conservative estimate of Kalani’s profit from buying and reselling shares at a discount

 equal to 6% of $200 million, or $12 million; and (iii) approximately $5 million in profits from

 selling into the market the roughly 2.6 million additional shares it received as a result of pricing

 concessions it received from DryShips in return for accepting larger and more frequent Fixed

 Request Notices than permitted by the February Agreement).




 43
        See DryShips Inc., Form 6-K (March 3, 2017).
 44
        See DryShips Inc., Form 6-K (March 17, 2017).
 45
        Id.

                                                        28
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                  On March 20, 2017, DryShips filed a Registration Statement on Form F-3 with the

 SEC to register up to $2 billion worth of additional common stock and other securities.

                  6.       April-August 2017: The Scheme Escalates with a Fifth and Final
                           Agreement with Kalani, Even More Dilutive Stock Sales, and Four
                           More Reverse Stock Splits

                  With their scheme in high gear, on April 3, 2017, DryShips announced that it had

 entered into a fifth PIPEs transaction with Kalani, this time for the sale of up to $226.4 million in

 DryShips common stock (the “April 3 Agreement”).46

                  The terms of the April 3 Agreement were substantively the same as the December

 27 and February 17 Agreements and provided the same opportunity for Kalani to purchase

 DryShips shares at a significant discount and to receive a $1.5 million commitment fee.47 The

 shares were to be issued pursuant to the 2015 Registration Statement. DryShips also filed a

 Prospectus Supplement with the SEC on April 3, 2017, which became part of the 2015 Registration

 Statement.

                  The April 3 Agreement operated in an identical manner as the December 27 and

 February 17 Agreements and contained the same volume, pricing, and timing protections for

 Kalani that ensured it a risk-free profit. As a result, once again, the overwhelming majority of the

 shares issued and sold under the February 17 Agreement were at Kalani’s option.48

                  Although DryShips still had room for an additional stock split of eight-for-one

 under the previously approved 1,000-for-one limit, given the increased volume of shares for


 46
         See DryShips Inc., Form 6-K (April 3, 2017).
 47
         See Common Stock Purchase Agreement dated as of April 3, 2017 (attached hereto as Exhibit I).
 48
          During the pendency of the April 3 Agreement, which was terminated on August 11, 2017 (a period of 130
 days), given the eight-day Pricing Period, requirement of five days between Pricing Periods, and limit of one Fixed
 Request per Pricing Period, the maximum number of Fixed Requests DryShips could have made was ten for a total of
 $10 million, meaning that, at least, $184 million in common shares issued pursuant to the April 3 Agreement were
 purchased at Kalani’s option.

                                                         29
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 purchase in the April 3 Agreement, DryShips knew that it would need even more reverse stock

 split approval to escalate the fraud over the next several months. Accordingly, on April 3, 2017,

 DryShips filed a Form 6-K that included the Company’s Notice of Annual General Meeting and

 Proxy Statement for the Company’s Annual General Meeting of Shareholders to be held on May

 2, 2017. The Proxy Statement was signed by Economou and dated April 3, 2017. It sought

 shareholder approval to amend DryShips’ Articles of Incorporation to allow for one or more

 reverse stock splits at ratios of up to 1,000-for-one. As before, the April 3 Proxy Statement falsely

 represented that: “The Board believes that” the reverse split proposal “is in the best interest of the

 Company and the shareholders,” and that “a reverse stock split will only be effected, if at all, upon

 a determination by the Board of Directors that a reverse stock split is in the Company’s and the

 shareholders’ best interests.”49

                On May 2, 2017, DryShips announced the foregone results from the shareholders

 meeting that took place that day: the proposal to allow additional reverse splits of up to 1,000-for-

 one was approved.50

                As before, Kalani’s sales into the market of DryShips common stock obtained

 pursuant to the April 3 Agreement steadily depressed DryShips’ stock price, necessitating

 additional reverse stock splits to raise it above the $1.00 Floor Price in the April 3 Agreement and

 incentivize Kalani to purchase additional shares:

        a. On April 6, 2017, with DryShips’ stock price trading just above the $1.00 Floor Price,

            DryShips announced a four-for-one reverse stock split.51




 49
        See DryShips Inc., Form 6-K at 6 (April 3, 2017).
 50
        See DryShips Inc., Form 6-K (May 2, 2017).
 51
        See DryShips Inc., Form 6-K (April 6, 2017).

                                                       30
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       b. On April 7, 2017, DryShips announced that the Company had sold an additional

           35,692,576 shares to Kalani at an average price of $1.08 per share, swelling the number

           of outstanding common shares to 188,043,945, an increase of approximately 1293%

           since the previous reverse stock split on January 23, 2017.52 At the same time, Kalani’s

           selling had driven DryShips stock price down 88%, from $5.40 on the date the prior

           reverse stock split was executed to $0.62 on April 10, 2017.

       c. On April 11, 2017, DryShips executed the four-for-one reverse stock split, reducing the

           number of outstanding common shares from approximately 177 million to

           approximately 44 million and raising the closing stock price from $0.62 to $1.74.53

           However, this increase did not offset the loss in value to shareholders from having their

           shares merged, and the price of the shares actually declined over 30% on a split-

           adjusted basis.

       d. On April 17, 2017, DryShips announced that the Company had sold an additional

           7,912,449 shares to Kalani at an average price of $1.84 per share, increasing the number

           of outstanding common shares to 54,923,434.54

       e. On April 28, 2017, DryShips announced that the Company had sold an additional

           10,425,258 shares to Kalani at an average price of $1.37 per share, increasing the

           number of outstanding common shares to 65,564,556.55 Thus, in a period of two short




 52
       See DryShips Inc., Form 6-K (April 7, 2017).
 53
       See DryShips Inc., Form 6-K (April 11, 2017).
 54
       See DryShips Inc., Form 6-K (April 17, 2017).
 55
       See DryShips Inc., Form 6-K (April 28, 2017).


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              weeks since the prior reverse stock split on April 11, 2017, the number of outstanding

              shares of DryShips common stock had increased 39%.

         f. On May 2, 2017, with DryShips’ common stock again trading at just over the $1.00

              Floor Price,56 DryShips announced a seven-for-one reverse stock split.57

         g. On May 11, 2017, DryShips executed the seven-for-one reverse stock split, reducing

              the number of outstanding common shares from 67,402,716 shares to approximately

              9.6 million shares and raising the closing stock price from $0.96 to $5.33. 58 However,

              this increase did not offset the loss in value to shareholders from having their shares

              merged, and the price of the shares actually declined over 21% on a split-adjusted basis.

         h. On May 19, 2017, DryShips announced that the Company had sold an additional

              2,697,742 shares to Kalani at an average price of $4.42 per share, increasing the number

              of outstanding common shares to 12,064,107.59

         i. On May 26, 2017, DryShips announced that the Company had sold an additional

              1,616,737 shares to Kalani at an average price of $2.96 per share, increasing the number

              of outstanding common shares to 13,778,247.60




 56
         By May 10, 2017, the day before the reverse stock split was executed, DryShips’ stock price had fallen 44%,
 from $1.74 immediately following the prior reverse stock split, to $0.96. See Exhibit B.
 57
         See DryShips Inc., Form 6-K (May 2, 2017).
 58
         See DryShips Inc., Form 6-K (May 11, 2017).
 59
         See DryShips Inc., Form 6-K (May 19, 2017).
 60
         See DryShips Inc., Form 6-K (May 26, 2017).



                                                         32
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         j. On June 2, 2017, DryShips announced that the Company had sold an additional

              2,021,157 shares to Kalani at an average price of $2.37 per share, increasing the number

              of outstanding common shares to 15,799,404.61

         k. On June 9, 2017, DryShips announced that the Company had sold an additional

              4,766,831 shares to Kalani at an average price of $1.82 per share, increasing the number

              of outstanding common shares to 20,566,235.62

         l. On June 16, 2017, DryShips announced that the Company had sold an additional

              5,195,050 shares to Kalani at an average price of $1.77 per share, increasing the number

              of outstanding common shares to 25,761,285, an increase of 168% since the prior stock

              split just one month earlier.63

         m. On June 19, 2017, with the price of DryShips common stock again approaching the

              $1.00 Floor Price,64 DryShips announced a five-for-one reverse stock split.65

         n. On June 22, 2017, DryShips executed a five-for-one reverse stock split, reducing the

              number of outstanding common shares from approximately 24.1 million shares to

              approximately 4.8 million shares and raising the closing stock price from $0.85 to

              $2.83. However, this increase did not offset the loss in value to shareholders from




 61
         See DryShips Inc., Form 6-K (June 2, 2017).
 62
         See DryShips Inc., Form 6-K (June 9, 2017).
 63
         See DryShips Inc., Form 6-K (June 16, 2017).
 64
         By June 21, 2017, the day before the reverse stock split was executed, DryShips’ stock price had fallen 84%,
 from $5.33 immediately following the prior reverse stock split, to $0.85. See Exhibit B.
 65
         See DryShips Inc., Form 6-K (June 19, 2017).



                                                         33
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             having their shares merged, and the price of the shares actually declined over 33% on

             a split-adjusted basis.66

         o. On June 23, 2017, DryShips announced that the Company had sold an additional

             3,868,393 shares to Kalani at an average price of $3.23 per share, increasing the number

             of outstanding common shares to 9,020,650.67

         p. On June 30, 2017, DryShips announced that the Company had sold an additional

             6,904,566 shares to Kalani at an average price of $1.93 per share, increasing the number

             of outstanding common shares to 15,925,216.68

         q. On July 7, 2017, DryShips announced that the Company had sold an additional

             10,413,514 shares to Kalani at an average price of $1.07 per share, increasing the

             number of outstanding common shares to 26,609,379.69

         r. On July 14, 2017, DryShips announced that the Company had sold an additional

             9,089,888 shares to Kalani at an average price of $0.90 per share, increasing the number

             of outstanding common shares to 35,699,267, an increase of approximately 644%.70

         s. On July 18, 2017, with DryShips common stock trading at just $0.83,71 DryShips

             announced a seven-for-one stock split.72



 66
         See DryShips Inc., Form 6-K (June 22, 2017).
 67
         See DryShips Inc., Form 6-K (June 23, 2017).
 68
         See DryShips Inc., Form 6-K (June 30, 2017).
 69
         See DryShips Inc., Form 6-K (July 7, 2017).
 70
         See DryShips Inc., Form 6-K (July 14, 2017).
 71
         By July 20, 2017, the day before the reverse stock split was executed, DryShips’ stock price had fallen
 approximately 85%, from $2.83 immediately following the prior reverse stock split, to $0.43. See Exhibit B.
 72
         See DryShips Inc., Form 6-K (July 18, 2017).


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        t. On July 21, 2017, DryShips executed the seven-for-one reverse stock split, reducing

            the number of outstanding common shares from approximately 36.3 million shares to

            approximately 5.2 million shares and raising the closing share price from $0.43 to

            $2.17. However, this increase did not offset the loss in value to shareholders from

            having their shares merged, and, on the first trading day after the split, the price of the

            shares actually declined over 22% on a split-adjusted basis.73

        u. On July 25, 2017, DryShips announced that the Company had sold an additional

            596,806 shares to Kalani at an average price of $0.84 per share prior to the July 21

            reverse split, and an additional 13,995,486 shares to Kalani at an average price of $1.88

            per share after the July 21 reverse split, increasing the number of common outstanding

            common shares to 19,180,639.74

        v. On July 28, 2017, DryShips announced that the Company had sold an additional

            5,898,364 shares to Kalani at an average price of $1.11 per share, increasing the number

            of outstanding common shares to 25,079,003.75

        w. On August 4, 2017, DryShips announced that the Company had sold an additional

            6,468,435 shares to Kalani at an average price of $1.31 per share, increasing the number

            of outstanding common shares to 31,547,436.76

                Although two of the announced sales to Kalani pursuant to the April 3 Agreement

 were at an average price below the $1.00 Floor Price, since Kalani had the right to reject Fixed

 Requests below the Floor Price, Kalani’s purchases at these levels give rise to a strong inference


 73
        See DryShips Inc., Form 6-K (July 21, 2017).
 74
        See DryShips Inc., Form 6-K (July 25, 2017).
 75
        See DryShips Inc., Form 6-K (July 28, 2017).
 76
        See DryShips Inc., Form 6-K (August 4, 2017).

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 that DryShips agreed to sell Optional Amount shares to Kalani below the Floor Price in order to

 guarantee Kalani a profit and incentivize it to purchase additional shares.

                7.       August 2017: The SEC Subpoenas DryShips and the Scheme Ends

                On August 11, 2017, DryShips abruptly announced: (i) the termination of the April

 3 Agreement with Kalani; and (ii) that DryShips agreed not to conduct any equity offerings until

 after December 31, 2017, unless approved by a majority of unaffiliated stockholders.

                The termination of the April 3 Agreement with Kalani was unexpected since the

 agreement had not been fully utilized. As of August 11, 2017, DryShips had sold to Kalani

 approximately $194 million worth of common shares out of the $226.4 million permitted by the

 April 3 Agreement.

                Based on information and belief, the April 3 Agreement was terminated prior to its

 full utilization because DryShips had received a subpoena from the SEC inquiring about its

 financing transactions with Kalani.

                However, DryShips did not disclose that it had received a subpoena from the SEC

 until August 30, 2017, when it announced that the SEC was “requesting certain documents and

 information from the Company in connection with offerings made by the Company between June

 2016 and July 2017.”77 The date that the subpoena was received has never been specified in

 DryShips’ public disclosures, though Top Ships disclosed it had received a similar subpoena from

 the SEC on August 1, 2017. Based on information and belief, the SEC investigation remains

 ongoing.

                By the end of the Class Period, as a result of Defendants’ manipulative conduct,

 DryShips had a market capitalization of approximately $238 million, despite having raised over



 77
        See DryShips Inc., Form 6-K (August 30, 2017).

                                                     36
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 $700 million from investors since June 8, 2016. The decimation of shareholder value was entirely

 attributable to the undisclosed agreement between DryShips and Kalani, through which

 Defendants manipulated the price of DryShips common stock through manipulative and deceptive

 stock offerings and reverse stock splits.

                While shareholders lost hundreds of millions of dollars, Defendants reaped the

 benefits of their fraudulent scheme. Economou has earned millions of dollars through self-dealing,

 as monies have been funneled to companies he owns and controls, as detailed below. Similarly,

 Kalani made tens of millions of dollars in commissions, fees, and profits from its resale of the

 discounted DryShips common stock to unsuspecting investors in the secondary market.

        D.      DryShips’ and Kalani’s Undisclosed Agreement Can Be Inferred from Their
                Conduct

                DryShips’ conduct in authorizing eight reverse stock splits in the immediate

 aftermath of its agreements with Kalani is inexplicable but for the existence of the alleged

 Undisclosed Agreement. No company board would conduct so many reverse stock splits but for

 its insiders having some personal profit motive.

                There is a large body of research regarding when reverse stock splits are conducted,

 for what reasons, with what effect, and at what cost. That research shows that the number,

 frequency, and cumulative value of the splits deployed by DryShips were a complete outlier and

 utterly inconsistent with DryShips’ claims that reverse stock splits were conducted in the “best

 interest” of the company, to raise its stock price and to meet NASDAQ’s minimum listing price.

                For example, a 2015 study of all reverse splits between 1980 and 2010 executed by

 public companies trading in the U.S. across all stock exchanges found that just five companies

 during this 30-year period had performed as many as five reverse stock splits, with the most

 extreme case (which led to an SEC investigation for fraud) having reverse split the stock five times


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 within four years. See Claire E. Crutchley & Steven Swidler, Multiple Reverse Stock Splits

 (Investors Beware!), 39 JOURNAL OF ECONOMICS AND FINANCE 357, 359 (2015) (“Crutchley”).78

 Indeed, only 2.2% of the 1,807 companies who conducted a reverse stock split during this entire

 30-year period conducted three or more reverse splits. Id. In addition, 85% of the reverse stock

 splits identified in the study utilized a split factor (the number of old shares exchanged for one new

 share) of 10 or less, and the median years between individual company’s reverse stock splits fell

 between two and three years. Id. at 360-62.

                   Further, reverse stock splits are costly to implement — attorney’s fees alone can

 run into the many hundred thousands of dollars — and have adverse consequences in terms of

 investor sentiment and stock price performance.79 As such, they are usually engaged in by

 financially distressed companies as a last resort. And even then, a reverse stock split is typically

 a one and done proposition.

                   This research suggests that DryShips’ eight reverse stock splits between March 11,

 2016, and July 21, 2017, five of which were conducted between January 23, 2017, and July 21,

 2017, were completely out of the ordinary. This conclusion is buttressed by Plaintiffs’ own

 analysis of the 3,212 private placement (or PIPEs) transactions reported as having been conducted

 by 1,864 issuers listed on U.S. exchanges across 2016 and 2017. 80 As shown in Table 1 below,


 78
           See also Elnahas, Ahmed, Jain, Pankaj K. & McInish, Thomas H., Stock Splits, Accounting Manipulation,
 and Unwarranted CEO Compensation (May 11, 2016) at 9. Available at SSRN: https://ssrn.com/abstract=2800765 or
 http://dx.doi.org/10.2139/ssrn.2800765 (discussing literature of reasons why reverse splits take place, noting “Bacon,
 Salandro, and Shin (1993), and Peterson and Peterson (1992) document that corporate managers mention image
 improvement, marketability, increased ability to attract different segments of investors, and meeting stock market
 listing requirements as the main reasons for reverse splits. Many empirical studies . . . find that those stated objectives
 are not really achieved with reverse splits. Our analysis shows that, for many firms, a reverse split results from prior
 misdeeds in corporate gamesmanship.” (Emphasis added).
 79
          See Crutchley at 357, 361.
 80
         Included in this analysis are private placement offerings of Common Stock; Convertible Preferred Stock;
 non-Convertible Preferred Stock (with Warrants); Convertible Debt; non-Convertible Debt (with Warrants); other
 Convertible Securities; Prepaid Warrants; Equity Lines; and At-the-Market Offerings.

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 of the 1,864 companies responsible for these PIPEs transactions, only 21% have ever conducted a

 reverse stock split, and only 0.54% had performed four or more reverse stock splits in their

 lifetime. DryShips, Diana, and Top Ships were the only three issuers in this sample to have

 conducted six or more reverse splits in their lifetime.

 Table 1: Number of reverse stock splits conducted by 2016 and 2016 PIPEs issuers across
 their lifetime

  Reverse Stock Splits Across History Number of Issuers              Percentage of Total Issuers

                      0                                1472                     78.97%

                      1                                269                      14.43%

                      2                                 81                      4.35%

                      3                                 32                      1.72%

                      4                                 6                       0.32%

                      5                                 1                       0.05%

                      6                                 1                       0.05%

                      7                                 0                       0.00%

                      8                                 1                       0.05%

                      9                                 1                       0.05%



                 More importantly, as shown in Table 2 below, only 8.58% of the issuers who

 conducted PIPEs transactions in 2016 and 2017 also conducted a reverse stock split during those

 same years. Indeed, only three of these issuers conducted more than two reverse stock splits across

 2016 and 2017: DryShips, Diana, and Top Ships. Aside from these three companies, only 10 of

 the companies who closed PIPEs transactions in 2016 and 2017 also conducted two reverse stock

 splits in those years.



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 Table 2: Number of reverse stock splits conducted in 2016 and 2017 by 2016 and 2017
 PIPEs issuers

      Reverse Stock Splits Across 2016 and                   Number of               Percentage of Total
                     2017                                     Issuers                      Issuers

                            0                                   1704                        91.42%

                            1                                   147                          7.89%

                            2                                    10                          0.54%

                            3                                     0                          0.00%

                            4                                     0                          0.00%

                            5                                     1                          0.05%

                            6                                     1                          0.05%

                            7                                     0                          0.00%

                            8                                     1                          0.05%



                  Plaintiffs’ research demonstrates that conducting multiple reverse stock splits over

 a short period of time is not a necessary corollary of conducting PIPEs transactions, even where

 the transaction is conducted by a financially distressed company such as DryShips. Even when

 the analysis is limited to the 326 PIPEs transactions across 2016 to 2017 where the issuance

 amount, excluding warrant coverage, exceeded 50% of the issuers’ market capitalization, the

 results still suggest DryShips’ conduct is an outlier. Of the 267 companies responsible for these

 326 PIPEs transactions, only 21.7% also conducted at least one reverse stock split in 2016 or 2017,

 and no issuer dealing with an investor other than Kalani conducted more than two reverse stock

 splits in those years:81


 81
         The two issuers who conducted 5 and 8 splits across 2016 and 2017 as shown in Table 3 are Top Ships and
 DryShips, respectively. Diana does not appear in this table, as its issuance of preferred stock to Kalani did not
 exceed 50% of its market capitalization and as Plaintiffs have excluded warrants from this analysis.

                                                        40
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 Table 3: Number of reverse stock splits conducted in 2016 and 2017 by 2016 and 2016
 PIPEs issuers whose issuance exceeded 50% of their market capitalization

      Reverse Stock Splits Across 2016 and                     Number of                Percentage of Total
                     2017                                       Issuers                       Issuers

                            0                                      209                          78.28%

                            1                                       49                          18.35%

                            2                                        7                           2.62%

                            3                                        0                           0.00%

                            4                                        0                           0.00%

                            5                                        1                           0.37%

                            6                                        0                           0.00%

                            7                                        0                           0.00%

                            8                                        1                           0.37%



                   Furthermore, the fact that DryShips conducted each of its reverse stock splits only

 after its stock price fell below the price floor in its PIPEs transactions with Kalani,82 strongly

 suggests that these splits were performed to facilitate Kalani’s conversion of further convertible

 securities or purchases of common stock in the PIPEs transactions. In addition, at least for the

 August 15, 2016 reverse stock split, had DryShips intended the split to help it maintain its listing

 on NASDAQ by keeping its stock price above $1.00, as DryShips suggested in its public

 announcements, one would have expected it to have conducted the stock split as soon as its stock

 price dropped below $1.00, rather than wait for a prolonged period of trading below that price.




 82
          See Exhibit B for a table detailing the DryShips’ stock price and trading volume across the Class Period.
 Note, that while DryShips shares closed at $1.01 on January 20, 2017 (before the January 23, 2017 reverse stock split),
 the stock traded below $1.00 during intraday trading.

                                                          41
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                   Additionally, if only one company who dealt with Kalani had conducted multiple

 reverse stocks splits in the manner that DryShips did, one might be able to attribute those splits to

 a misguided desire on the Company’s part to keep its stock price above $1.00 and maintain its

 NASDAQ listing. But the fact that Kalani reached strikingly similar PIPEs deals with two other

 companies in 2016 and 2017, Diana and Top Ships, and both of these companies also performed

 multiple reverse stock splits after their share price fell below the exercise price of the convertible

 securities issued by them, suggests this pattern of behavior was by design.83 In particular, it

 suggests that DryShips’, Diana’s, and Top Ships’ repeated use of reverse stock splits to prop up

 their respective share prices above the price floors applicable to the convertible securities granted

 to Kalani was a part and parcel of their wider agreement with Kalani.

                   But for the existence of the alleged Undisclosed Agreement, DryShips would not

 have authorized any further reverse stock splits after the August 15, 2016 split, as it would have

 recognized that any further splits would not be in the best interest of shareholders and would not

 achieve the stated objectives of maintaining stable, higher prices. Had any reasonable board not

 known of Kalani’s intentions in advance, it would have torn up the first June 8 SPA with Kalani

 after Kalani’s trading activity pummeled DryShips’ share price below $0.37 in short order after

 the first reverse stock split. The fact that DryShips and Economou failed to walk away from the

 June 8 SPA, entered into four more agreements with Kalani, and continued to conduct reverse

 stock splits to facilitate Kalani’s continued conversion and sale of its convertible securities under

 the June 8 and November 16 SPAs, and purchases of common stock pursuant to the December 23,




 83
          There is no record of Kalani having conducted any private placements with an issuer listed on a U.S. exchange
 outside of DryShips, Diana, and Top Ships. In both cases, the evidence suggests that, like here, Kalani immediately
 sold its common stock in Diana and Top Ships upon converting its convertible securities, causing these issuers’
 respective stock prices to drop.

                                                          42
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 February 17, and April 3 Agreements, strongly suggests that they had made a prior commitment

 to do so.

        E.      Defendants Diverted Money Raised in the Fraudulent Financing Scheme to
                Their Related Affiliates

                Throughout the Class Period, the DryShips Defendants diverted hundreds of

 millions of dollars received through its fraudulent scheme with Kalani to affiliated entities.

                At all relevant times, DryShips has operated as an owner of vessels, the

 management and operation of which are contracted out to other entities, many or most of which

 are under the control of Defendants Economou and/or Kandylidis. Through their affiliated entities,

 Economou and Kandylidis were motivated to, and did, derive substantial financial benefits prior

 to and throughout the Class Period that were dependent on the perpetration of Defendants’

 fraudulent scheme.

                The related party transactions, which benefitted Economou and Kandylidis, came

 at a substantial cost to DryShips and its investors. For example, for the years ended December 31,

 2017 and 2016, DryShips recorded general and administrative expenses for related-party

 transactions of approximately $23.9 million and $32.4 million, respectively. The payments made

 by DryShips to related entities in 2017 would not have been possible but for the capital injections

 received from Kalani as a result of DryShips’ participation in the Undisclosed Agreement.

                The relationship between Economou- and Kandylidis-controlled entities and

 DryShips are numerous and intertwined, often with several overlapping connections. These

 relationships are explained more fully below, but can be summarized as follows:

        a. DryShips entered into consulting or services agreements with the following entities, all

             of which are controlled and/or beneficially owned by Economou and/or Kandylidis: (i)

             Fabiana Services S.A. (“Fabiana”); (ii) TMS Offshore Services Ltd. (“TMS Offshore”),


                                                  43
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            TMS Tankers Ltd. (“TMS Tankers”), and TMS Bulkers Ltd. (“TMS Bulkers”)

            (collectively, “TMS”); (iii) Vivid Finance Limited (“Vivid”); (iv) Basset Holdings Inc.

            (“Basset Holdings”); and (v) Cardiff Tankers Inc. (“Cardiff Tankers”) and Cardiff Gas

            Ltd. (“Cardiff Gas”);

         b. DryShips entered into a promissory note with the following entity, which is controlled

            and/or beneficially owned by Economou and Kandylidis: (i) Ocean Rig UDW, Inc.

            (“Ocean Rig”), a former subsidiary of DryShips where Economou remains CEO and

            Chairman and Kandylidis remains President and CFO, both of whom maintain

            substantial holdings in Ocean Rig; and

         c. DryShips entered into credit facility agreements or rights offerings with the following

            entities, all of which are controlled and/or beneficially owned by Economou: (i) Sifnos;

            (ii) Sierra Investments Inc. (“Sierra”); (iii) Mountain Investments Inc. (“Mountain”);

            and (iv) SPII Holdings (“SPII”).

                Additionally, DryShips entered into numerous agreements with undisclosed

 companies controlled and/or beneficially owned by Economou.

                1.      Fabiana

                Economou owns and controls Fabiana, a Marshall Islands entity, and provided

 services as its CEO from 2008 until December 31, 2016. Pursuant to the terms of their consulting

 agreement, DryShips was obligated to pay Fabiana annual remuneration and had discretion to

 award Fabiana a cash or equity-based bonus compensation for services provided at the end of the

 year.

                Over the course of the consulting agreement, which was terminated at no cost on

 December 31, 2016, Fabiana received a total of 13.3 million shares of DryShips common stock

 and $1 million in cash.

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                2.       TMS Entities

                TMS, another Economou-controlled entity, also acted as a DryShips consultant.

 Economou controls and beneficially owns TMS Offshore, TMS Tankers, and TMS Bulkers, which

 have managed DryShips’ vessels since January 1, 2011. According to DryShips’ March 13, 2017

 Form 20-F, DryShips “depend[s] entirely on the TMS Entities to manage and charter [its]

 drybulk, tanker, LPG, and offshore support fleet.”84

                Specifically, TMS Bulkers provides comprehensive drybulk ship management

 services, including technical supervision, such as repairs, maintenance, and inspections, safety and

 quality, and crewing and training, as well as supply provisioning to DryShips.

                As reported in the Company’s April 4, 2018 Form 20-F, during the years ended

 December 31, 2017 and 2016, total charges from TMS Bulkers under the management agreements

 amounted to $11.8 million and $19 million, respectively.85

                TMS Offshore is responsible for providing overall technical and crew management

 of the Company’s platform supply and oil spill recovery vessels.

                For the years ended December 31, 2017 and 2016, total charges from TMS Offshore

 Services amounted to $4.7 million and $4.6 million, respectively.86

                TMS Tankers provides the commercial and technical management functions of

 DryShips’ tankers, including while tankers are under construction.

                For the year ended December 31, 2017, total charges from TMS Tankers amounted

 to $1.4 million.87


 84
        DryShips Inc., Form 20-F (March 13, 2017).
 85
        DryShips Inc., Form 20-F (April 4, 2018).
 86
        Id.
 87
        Id.

                                                     45
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                3.     Ocean Rig

                Prior to and throughout the Class Period, DryShips and Ocean Rig engaged in a

 series of financial agreements. Ocean Rig is an international drilling contractor and former

 subsidiary of DryShips, of which Economou is the CEO and Chairman. DryShips purchased 30%

 of Ocean Rig for $405 million in 2007, paying a $4 million brokerage free to Cardiff Marine,

 another Economou-owned company. Kandylidis served as the President and CFO of Ocean Rig

 until January 2018, at which point he was appointed Executive Vice Chairman.

                On April 5, 2016, however, DryShips sold its stake in Ocean Rig to an Ocean Rig

 subsidiary for approximately $50 million. The sale’s proceeds were then partly used to reduce the

 outstanding amount under the revolving credit facility provided to the Company by Sifnos, an

 entity beneficially owned by Economou.

                4.     Sifnos and Sierra

                On October 21, 2015, as amended on November 11, 2015, DryShips entered into

 an Initial Revolving Credit Facility of up to $60 million for general working purposes with Sifnos,

 an entity that is controlled and beneficially owned by Economou.

                The 2015 Initial Revolving Credit Facility was secured by shares that DryShips

 held in Ocean Rig and Nautilus Offshore Services Inc. (“Nautilus”), a company acquired by

 DryShips in 2015 that was financed through an Economou-controlled entity, and by a first priority

 mortgage over one Panamax drybulk carrier. The Initial Revolving Credit Facility was amended

 on March 24, April 5, September 9, and October 31, 2016. As of December 2016, DryShips had

 repaid $33.5 million under this facility and wrote off approximately $1.6 million of overdue

 interest.

                Separately, on April 5, 2016, DryShips paid Sifnos an additional $45 million from

 the sale proceeds in connection with the sale of DryShips’ ownership of Ocean Rig common stock.

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                On December 30, 2016, Sifnos entered into a New Revolving Credit Facility of up

 to $200 million, which refinanced the majority of DryShips’ outstanding debt, including that from

 the Initial Revolving Credit Facility. The new agreement carried an interest rate of LIBOR plus

 5.5%, was non-amortizing, had a tenor of three years, no financial covenants, and was arranged

 with a fee of 2.0%. In addition, Sifnos had the ability to participate in realized-asset-value

 increases of the collateral base in a fixed percentage of 30%. As of December 31, 2016, there was

 $121 million outstanding under the New Revolving Credit Facility.

                On April 10, 2017, the credit facility was amended once again, resulting in an

 amendment fee of $2.0 million payable to Sifnos and an increased margin over LIBOR by 1% to

 6.5%.

                On May 23, 2017, DryShips was released from all of its obligations and liabilities

 under the New Revolving Credit Facility from Sifnos and entered into a credit facility with Sierra

 (the “Sierra Credit Facility”), and a separate participation rights agreement with Mountain, an

 entity beneficially owned by Economou.

                The Sierra Credit Facility carried an interest rate of LIBOR plus 6.5%, was non-

 amortizing, had a tenor of five years, no financial covenants, and was arranged with a fee of 1%.

 Mountain also had the ability to participate in realized-asset-value increases of all of DryShips

 present and future assets, except the vessel Samsara, in a fixed percentage of 30% in the case of

 their sale.

                5.      Vivid

                Vivid is controlled by Economou and has provided DryShips with financing-related

 services since 2010, including: (i) negotiating and arranging new loan and credit facilities, interest

 rate swap agreements, foreign currency contracts, and forward exchange contracts; (ii)



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 renegotiating existing loan facilities and other debt instruments; and (iii) raising equity or debt in

 the capital markets.

                In exchange for its services, Vivid is entitled to a fee equal to 0.20% on the total

 transaction amount. DryShips has not disclosed the fees that it paid to Vivid.

                6.      Basset Holdings

                Effective January 1, 2015, the Company entered into a consultancy agreement with

 Basset Holdings, a Marshall Islands company beneficially owned by Kandylidis. Basset Holdings

 provides the services of Kandylidis in his capacity as DryShips’ Executive Vice President,

 President, and CFO. Effective December 31, 2016, the consultancy agreement with Basset

 Holdings was terminated. DryShips has not disclosed the fees that it paid to Basset Holdings.

                7.      Cardiff Tankers and Cardiff Gas

                Cardiff Tankers and Cardiff Gas, two Marshall Islands identities, are beneficially

 owned by Economou and provide services to DryShips related to the sourcing, negotiation, and

 execution of charters. Cardiff Tankers and Cardiff Gas are entitled to a 1.25% commission on the

 charter hire earned by those vessels. DryShips has not disclosed the amount that it has paid to

 Cardiff Tankers and Cardiff Gas for their services.

                8.      Purchase and Sale Agreements for DryShips Vessels

                DryShips has a history of engaging in purchase and sale agreements with entities

 controlled by Economou for the benefit of Economou, many of which involve DryShips paying

 entities for vessels the entities purchased.

                This pattern began long before the Class Period and has continued to this day.

                For example, on March 24, 2016, DryShips executed a sales agreement with

 undisclosed entities controlled by Economou for the sale of DryShips’ Capesize vessels (Rangiroa,

 Negonego, and Fakarava) for an aggregate price of $70 million, along with the associated debt of

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 $102.1 million. Since the debt associated with these vessels exceeded the purchase price, DryShips

 was obligated to pay the purchaser the difference between the purchase price and the outstanding

 balance of the debt. DryShips made a prepayment of $15 million in this regard on March 30, 2016

 and, on March 31, 2016, delivered the shares of the vessel-owning companies to their new owners,

 i.e., Economou.

                Similarly, on September 16, 2016, DryShips entered into a sale agreement with an

 undisclosed entity beneficially owned by Economou for the sale of shares of the owning company

 of the Panamax vessel, Oregon, including the associated bank debt, for a gross price of $4.675

 million. As part of the transaction, DryShips paid $7.83 million, the difference between the

 purchase price and the outstanding balance of the respective debt facility, to Economou.

                Likewise, on October 26, 2016, the Company entered into a sales agreement with

 undisclosed entities beneficially owned by Economou for the sale of the owning companies of

 three Panamax vessels (Amalfi, Galveston (the vessel Galveston was sold and delivered to its

 owners on November 30, 2015), and Samatan), along with the associated bank debt for an

 aggregate gross price of $15 million. As part of the transaction, the Company also paid the amount

 of $58.7 million, being the difference between the purchase price and the outstanding balance of

 the respective debt facility, to the new owners, i.e., Economou.

                On January 5, 2017, DryShips announced that it had entered into a “zero cost” LPG

 Option Agreement with undisclosed companies controlled by Economou to purchase up to four

 very large gas carriers (“VLGCs”). On January 19 and March 10, 2017, the first and second

 VLGCs were acquired, respectively, for a purchase price of $83.5 million each. In connection with

 this acquisition, DryShips entered into new service agreements with TMS and Cardiff Gas

 amounting to total charges of $0.5 million for the year ended December 31, 2017.



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               The third and fourth VLGCs were acquired on April 6, 2017 for $83.5 million each.

 For year ended December 31, 2017, DryShips reported operating expenses amounting to $5.7

 million for three of the four VLGC vessels acquired. The Company also reported general and

 administrative expenses related to three of the four VLGC vessels as amounting to $1.8 million.

               On May 15, 2017, DryShips entered into a purchase agreement with a company

 beneficially owned by Economou for the purchase of shares of the owning company of the

 Suezmax newbuilding vessel, Samsara, for a purchase price of $64 million.

        F.     Economou Manipulated His Ownership of DryShips Stock and Debt to
               Recoup Control of DryShips After the Scheme Ended Before Taking the
               Company Private

               In addition to the transactions described above, Defendant Economou personally

 profited through his control over DryShips’ stock and its debt and ultimately by taking the newly

 prosperous Company private after it had raised over $700 million from unsuspecting investors by

 means of the fraudulent scheme detailed above.

               Prior to the scheme, on March 31, 2016, Economou owned 17.6% of the total

 outstanding common shares of DryShips stock.

               However, on August 11, 2017, the day DryShips announced that its relationship

 with Kalani was terminated, the Company also announced that Economou would return ownership

 to himself and recoup a majority interest in DryShips’ common stock in a cashless transaction

 ostensibly valued at $100 million, after having made the Company much wealthier while investors’

 holdings were effectively rendered worthless.

               Under the terms of the transaction, DryShips agreed to sell Economou $100 million

 worth of common shares for $2.75 per share. However, Economou would pay no cash to the

 Company. Rather, the consideration for the deal consisted of a number of arrangements with

 Economou-affiliated entities: (i) a 49% interest in a tanker operator, Economou-controlled

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 Heidmar; (ii) the termination of participation rights owned by another Economou-affiliated

 investment company; (iii) forfeiture by Economou-controlled Sifnos of the super-voting Series D

 preferred shares beneficially owned by Economou; and (iv) cancellation of $27 million in debt

 owed by DryShips to an Economou-affiliated investment company.

                 Unsurprisingly, the shipping industry quickly questioned the value of this deal,

 noting that the Series D preferred shares were not convertible to common stock and casting doubt

 on whether the consideration was, in fact, worth $100 million.88 However, according to a Schedule

 13D filed by Economou on September 5, 2017, the transaction, which closed on August 29, 2017,

 left Economou holding a majority ownership stake in DryShips — i.e., 36,363,639 of the

 67,911,072 outstanding as of September 1, 2017 or 53%.

                 Also on August 11, 2017, DryShips announced that it would conduct a rights

 offering to allow public shareholders to purchase up to $100 million worth of DryShips common

 shares for $2.75 per share (an over 10% discount to the $3.10 price at which DryShips closed on

 that date), with any remaining shares to be purchased by an Economou-affiliated entity.

                 On October 4, 2017, DryShips announced that the previously announced rights

 offering had closed. Public shareholders predictably had elected to purchase only $0.8 million

 worth of shares, and the Economou-affiliated entity had therefore purchased the remaining $99.2

 million in shares.     This further increased Economou’s ownership interest to 69.5% of the

 104,274,708 million common shares outstanding.




 88
          Michael Angell, Other DryShips concessions could be worth around $48m, TRADEWINDS (Aug. 15, 2017),
 http://www.tradewindsnews.com/finance/1327507/other-dryships-concessions-could-be-worth-around-usd-48m;
 Joe Brady, Did DryShips shareholders pay fair price for Heidmar?, TRADEWINDS (Aug. 16, 2017)
 http://www.tradewindsnews.com/weekly/1327505/did-dryships-shareholders-pay-fair-price-for-heidmar.

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                Having secured a clear majority interest, Economou then took steps towards taking

 the now financially sound Company private. Two stock buy-back programs left Economou with

 a more than 80% interest by the end of February 2018.

                Then, on August 19, 2019, DryShips announced that it had entered into a merger

 agreement with SPII Holdings, a company controlled by Economou, under which SPII would

 acquire outstanding shares of the Company that it did not already own for $5.25 per share.

                On October 9, 2019, DryShips announced that shareholders had voted in favor of

 the merger at a special meeting held on that date. On October 11, 2019, the Company announced

 the completion of its acquisition by SPII Holdings and its delisting from the NASDAQ.

 V.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
        AND OMISSIONS DURING THE CLASS PERIOD

                In furtherance of their scheme, Defendants made numerous materially false and

 misleading statements and omissions.

                First and foremost, neither the 2015 Registration Statement nor the Prospectus

 Supplements, filed on June 8, November 17, and December 27, 2016 and February 17 and April

 3, 2017 (collectively, the “SPA Prospectus Supplements”), in connection with the securities

 issuances to Kalani and incorporated into the 2015 Registration Statement, disclosed the parties’

 Undisclosed Agreement to manipulate the price of DryShips common stock to enrich themselves

 at the expense of investors.

                Instead, the 2015 Registration Statement and the SPA Prospectus Supplements

 contained certain boilerplate disclosures about the potential for purportedly hypothetical dilution

 from purportedly hypothetical future share issuances, including that, inter alia:

        a. “The market price of our common shares could decline due to sales, or the

            announcements of proposed sales, of a large number of common shares in the market,


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           including sales of common shares by our large shareholders, or the perception that these

           sales could occur.” [Emphasis added];

        b. “We may issue such additional equity or convertible securities to raise additional

           capital. The issuance of any additional shares of common or preferred stock or

           convertible securities could be substantially dilutive to our shareholders. Moreover,

           to the extent that we issue restricted stock units, stock appreciation rights, options or

           warrants to purchase our common shares in the future and those stock appreciation

           rights, options or warrants are exercised or as the restricted stock units vest, our

           shareholders may experience further dilution. Holders of shares of our common

           shares have no preemptive rights that entitle such holders to purchase their pro rata

           share of any offering of shares of any class or series and, therefore, such sales or

           offerings could result in increased dilution to our shareholders.” [Emphasis added];

           and

        c. “[O]ur existing shareholders’ proportionate ownership interest in us will decrease; . . .

           the relative voting strength of each previously outstanding common share may be

           diminished; and . . . the market price of shares of our common stock may decline.”

           [Emphasis added].

                 These misstatements were repeated in DryShips’ Form 20-F filed on March 13,

 2017, which was signed by Defendant Kandylidis (the “2016 Annual Report”). The report stated:

        Future sales of our common shares could cause the market price of our common
        shares to decline.

               The market price of our common shares could decline due to sales, or the
        announcements of proposed sales, of a large number of common shares in the
        market, including sales of common shares by our large shareholders, or the
        perception that these sales could occur. . . .



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                 We may issue such additional equity or convertible securities to raise
        additional capital. The issuance of any additional shares of common or preferred
        stock or convertible securities could be substantially dilutive to our shareholders.
        Moreover, to the extent that we issue restricted stock units, stock appreciation
        rights, options or warrants to purchase our common shares in the future and those
        stock appreciation rights, options or warrants are exercised or as the restricted
        stock units vest, our shareholders may experience further dilution. [Emphasis
        added].

                The statements and omissions in ¶¶148-50 were materially false and misleading

 and/or failed to disclose material adverse information, which was required to be disclosed, because

 at the time of these statements, Defendants were adhering to the Undisclosed Agreement, which

 entailed both the issuance of securities to Kalani, and their subsequent sale in a manner that would

 necessarily depress DryShips share value.

                In failing to disclose the existence of the Undisclosed Agreement and its likely

 impact, the Registration Statement also omitted known trends and demands required to be

 disclosed under Item 303 of SEC Regulation S-K, which requires the disclosure of “known trends

 or any known demands, commitments, events or uncertainties that will result in or that are

 reasonably likely to result in the registrant’s liquidity increasing or decreasing in any material

 way.” Additionally, the Undisclosed Agreement was a significant risk factor required to be

 disclosed under Item 105 of SEC Regulation S-K.

                Second, the 2015 Registration Statement and SPA Prospectus Supplements falsely

 stated: “We intend to use the net proceeds [from the sale of the offered securities] for general

 corporate purposes” and/or “to repay indebtedness under one or more of our existing credit

 facilities . . ., although we have no present agreements to do so.”

                The statements in ¶¶153 were materially false and misleading and/or failed to

 disclose material adverse information, which was required to be disclosed, because: (i) DryShips

 and Kalani had reached the Undisclosed Agreement to manipulate DryShips’ stock price, which


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 involved continuing dilutive share issuances and reverse stock splits, which they intended to

 continue for the foreseeable future (and which was, in fact, continued until Defendants learned that

 the SEC was investigating their scheme); (ii) the ongoing stock issuances were not accretive to

 shareholder value, but, in fact, harmed shareholders for the benefit of Defendants; and (iii) the

 proceeds were not used “for general corporate purposes” and/or “to repay indebtedness,” but

 instead were misappropriated to personally enrich the DryShips Defendants. These facts were also

 required to be disclosed under Items 105 and 303 for the reasons stated in ¶152 above.

                Third, the Form 6-Ks dated June 8, 2016, November 17, 2016, December 27, 2016,

 February 2, 2017, and April 3, 2017, which Defendant Economou signed, announced the June 8

 SPA, the November 16 SPA, the December 27 Agreement, the February 2 Agreement, and the

 April 3 Agreement, respectively, and annexed them as an exhibit. The June 8 SPA and the

 November 16 SPA each stated the following regarding manipulation of the price of DryShips’

 securities, without limitation:

        Neither the Company nor any of its Subsidiaries has, and, to the knowledge of the
        Company, no Person acting on their behalf has, directly or indirectly, (i) taken any
        action designed to cause or to result in the stabilization or manipulation of the price
        of any security of the Company or any of its Subsidiaries to facilitate the sale or
        resale of any of the Securities, (ii) sold, bid for, purchased, or paid any
        compensation for soliciting purchases of, any of the Securities (other than the
        Financial Advisor), or (iii) paid or agreed to pay to any Person any compensation
        for soliciting another to purchase any other securities of the Company or any of its
        Subsidiaries.

                The December 27 Agreement, February 2 Agreement and April 3 Agreement each

 stated the following regarding manipulation of the price of DryShips’ securities, without

 limitation:

        Neither the Company nor any of its officers, directors or Affiliates has, and, to the
        Knowledge of the Company, no Person acting on their behalf has, (i) taken, directly
        or indirectly, any action designed or intended to cause or to result in the stabilization
        or manipulation of the price of any security of the Company, or which caused or
        resulted in, or which would in the future reasonably be expected to cause or result

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        in, the stabilization or manipulation of the price of any security of the Company, in
        each case to facilitate the sale or resale of any of the Securities, or (ii) sold,
        bid for, purchased, or paid any compensation for soliciting purchases of, any of
        the Securities.

                The June 8 SPA and November 16 SPA further represented: “The Company does

 not have any agreement or understanding with any Buyer with respect to the transactions

 contemplated by the Transaction Documents other than as specified in the Transaction

 Documents.”

                The statements in ¶¶155-57 were materially false and misleading because they

 failed to disclose and, in fact, concealed, the existence of the Undisclosed Agreement.

                Fifth, in two DryShips shareholder proxies, signed by Economou and dated

 September 20, 2016 and April 3, 2017, both of which sought shareholder approval to amend

 DryShips’ Articles of Incorporation to allow for one or more reverse stock splits at ratios of up to

 1,000-for-one, Economou and DryShips stated that (i) “[t]he purpose for seeking approval to effect

 the reverse stock split is to increase the market price of each Common Share,” (ii) the DryShips

 “Board believes that” the reverse split proposal “is in the best interest of the Company and the

 shareholders” and “will help maintain compliance with the minimum bid price of $1.00 per share

 listing that is a requirement to maintain the listing on (sic) the Company’s Common Shares on the

 NASDAQ Capital Market,” and (iii) “a reverse stock split will only be effected, if at all, upon a

 determination by the Board of Directors that a reverse stock split is in the Company’s and the

 shareholders’ best interests.”

                The statements in ¶159 were materially false and misleading because the true

 purpose of the proposal was to enable DryShips to comply with its obligations under the

 Undisclosed Agreement to execute additional reverse stock splits whenever the price of its

 common stock fell below the Floor Price in its PIPEs transactions with Kalani.


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 VI.    ADDITIONAL SCIENTER ALLEGATIONS

                At all relevant times throughout the Class Period, Defendants knew and/or

 recklessly disregarded that, inter alia, Defendants were engaged in an ongoing financing scheme

 involving a series of reverse stock splits and share issuances, which were intended to, and did, in

 fact, manipulate the price of DryShips common stock in order to benefit Defendants at the expense

 of shareholders. In addition to the allegations set forth herein, each of the following demonstrates

 Defendants’ scienter:

        A.      Defendants Reached an Undisclosed Agreement to Coordinate the Stock
                Issuances and Reverse Stock Splits

                At all relevant times, Defendants had direct access to information concerning

 DryShips’ business, operations, and finances. Through their ownership and/or control of DryShips

 and numerous related parties, Defendants Economou and Kandylidis also exerted their influence

 over the Company’s Board to perpetuate the fraudulent financing scheme as described herein.

                The timing, sequence, and sheer number of the share issuances, common stock

 conversions and sales, and reverse stock splits in a matter of months are highly suspicious and

 indicative of a pre-planned and ongoing joint effort among Defendants to manipulate DryShips’

 stock price and deceive investors.

                Further, the multiple reverse stock splits executed by DryShips were all perfectly

 timed to raise the market price of DryShips’ common stock above the floor prices in the PIPEs

 transactions with Kalani. This was no coincidence and could only have occurred with Defendants’

 agreement to, knowledge of, and participation in, a deliberate fraudulent scheme.

        B.         Defendant Economou Personally Profited from the Fraudulent Scheme

                As discussed more fully in §IV.D, Defendant Economou, entities he owns and/or

 controls, and other related parties derived substantial profits from the financing scheme, while


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 preserving Economou’s position of power and control over DryShips, both during and continuing

 after the Class Period.

                Specifically, DryShips paid substantial sums to Economou-controlled entities over

 the course of the Class Period for the following purported services: vessel sales, vessel

 management fees, and financing.

                Defendant Economou also profited as a result of his control over DryShips as its

 largest shareholder and largest creditor. Utilizing his power and influence, Economou caused

 DryShips to issue him preferred stock with “super-voting” rights, which enabled him to secure

 voting control and approve the reverse stock splits that were critical to Defendants’ scheme. Then,

 after the scheme ended, Economou recouped control of DryShips via a cashless transaction, share

 buy-backs financed by the fraudulent scheme, and a rights offering before ultimately taking the

 Company private in a merger with yet another Economou-controlled entity.

        C.      Defendants Kalani and Bistricer Personally Profited from the Fraudulent
                Scheme

                Kalani also profited as a direct result of its knowledge and participation in

 Defendants’ fraudulent scheme, earning tens of millions of dollars in commitment fees and profits

 from riskless purchases and sales of discounted DryShips common stock facilitated by the

 DryShips Defendants’ timely reverse stock splits.

                In addition, simultaneously, Kalani executed nearly identical schemes with two

 other Greek shipping companies, Diana Containerships and Top Ships.

                Kalani’s repeated use of the same financing scheme to defraud investors in three

 different companies is indicative of Defendants’ knowledge and intent to mislead investors and

 fraudulently manipulate DryShips’ stock price.




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 VII.   LOSS CAUSATION/MATERIALIZATION OF THE RISK

                Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

 the economic loss suffered by Plaintiffs and the Class.

                Throughout the Class Period, the price of DryShips’ common stock was artificially

 inflated and/or maintained at an artificially high level, as a result of Defendants’ fraudulent scheme

 to manipulate DryShips’ stock price for the purpose of diverting Company assets and/or profits

 from sales of DryShips securities to Defendants, at the expense of investors and as a result of

 Defendants’ materially false and misleading statements and omissions identified herein.

                As the true facts became known and/or the materialization of the risks that had been

 concealed by Defendants occurred, the price of DryShips common stock declined, as the artificial

 inflation was removed from the market price of the stock, causing damage to Plaintiffs and

 members of the Class.

                The risks of Defendants’ fraudulent Undisclosed Agreement began to materialize

 following DryShips’ announcement on June 8, 2016 that the Company had entered into the first

 of five PIPEs transactions with Kalani.        Subsequently, as Defendants planned, the Kalani

 Defendants began converting the convertible preferred securities it received in the transaction into

 common shares and dumping them on the secondary market, driving the price of DryShips’

 common stock down and extracting value from shareholders.

                As detailed above, each time DryShips’ share price declined below the floor price

 in the June 8 SPA and Kalani could no longer profitably convert its preferred stock into DryShips

 common stock, DryShips announced and procured further reverse stock splits to raise the price

 above the floor. These reverse stock splits facilitated Kalani’s further conversion and sale of the

 securities granted to it under the June 8 SPA, further depressing the price of DryShips’ stock,

 thereby allowing the risks of Defendants’ fraudulent Undisclosed Agreement and false statements

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 and omissions to continue to materialize. Further, as also noted above, while the reverse stock

 splits temporarily increased the share price of DryShips’ common stock, these increases never

 offset, even temporarily, the loss in value to shareholders from having their shares merged.

 Consequently, on the first trading day of each reverse stock split, the price of DryShips’ shares

 actually declined on a split-adjusted basis.

                The foregoing pattern was repeated following each of the other PIPEs transactions

 between DryShips and Kalani during the Class Period.

                By August 29, 2017, as a result of Defendants’ ongoing fraudulent and

 manipulative conduct, the price of DryShips’ common stock had declined to close at $3.50 per

 share on an unadjusted basis. At this share price, DryShips had a market capitalization of

 approximately $238 million, despite having raised $700 million dollars from Kalani since June 8,

 2016. On an adjusted basis, taking into account the stock splits, the price of DryShips stock had

 declined to a fraction of a cent since June 8, 2016, a decline of over 99.999%. The value of 100,000

 shares purchased on June 8, 2016 at $1.19 for $119,000 would have dwindled to just $1.05 by the

 end of 2017.

                This shocking erosion in shareholder value was the direct result of Defendants’

 fraudulent scheme, which manipulated the price of DryShips common stock and induced purchases

 through the series of dilutive and manipulative stock offerings and reverse stock splits detailed

 herein.

                While reverse stock splits are not inherently manipulative, Defendants rendered

 those conducted by DryShips in this case manipulative through their failure to disclose that the

 splits were being conducted pursuant to the Undisclosed Agreement, which required DryShips to

 execute reverse stock splits each time the price of its common stock fell below the floor prices in



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 the PIPEs transactions. This omission, as well as the affirmative misrepresentations detailed

 above, sent a false pricing signal to the market, namely that: (a) the price floor within the PIPEs

 transactions placed a restriction on Kalani’s ability to convert its preferred stock should its prior

 conversions result in a decline in DryShips’ stock price; and (b) the value of DryShips stock should

 rise in relative proportion to the ratios of the reverse stock splits deployed.

                Had Defendants, prior to the reverse stock splits, disclosed the Undisclosed

 Agreement and their shared intent to embark upon a course of conduct that would render DryShips

 common stock completely worthless, the market would have valued the shares as such and no

 amount of reverse stock splits would have changed that (as any multiple of zero is zero).

                As a result of Defendants’ wrongful acts and omissions and the precipitous decline

 in the market value of the DryShips’ securities, which are now virtually worthless, Plaintiffs and

 the other Class members have suffered significant losses and damages.

 VIII. CLASS ACTION ALLEGATIONS

                Plaintiffs bring this action as a class action, pursuant to Rules 23(a) and 23(b)(3) of

 the Federal Rules of Civil Procedure, on behalf of a Class consisting of all persons and entities that

 purchased, or otherwise acquired, the securities of DryShips during the Class Period, and who

 were damaged thereby, seeking to pursue remedies under the Exchange Act. Excluded from the

 Class are Defendants; the officers and directors of the Company, at all relevant times; members of

 their immediate families and their legal representatives, heirs, successors, or assigns; and any

 entity in which any of the Defendants have, or had, a controlling interest.

                The members of the Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, DryShips common stock was actively traded on the

 NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time, and

 can only be ascertained through appropriate discovery, Plaintiffs believe that there are hundreds

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 or thousands of members in the proposed Class. Millions of DryShips shares were traded publicly

 during the Class Period on the NASDAQ. Record owners and other members of the Class may be

 identified from records maintained by DryShips or its transfer agent and may be notified of the

 pendency of this action by U.S. mail, using the form of notice similar to that customarily used in

 securities class actions.

                 Plaintiffs’ claims are typical of the claims of Class members, who were all similarly

 affected by Defendants’ wrongful conduct in violation of federal securities laws, which is

 complained of herein. Further, Plaintiffs will fairly and adequately protect the interests of Class

 members and have retained counsel competent and experienced in class and securities litigation.

                 Common questions of law and fact exist, as to all members of the Class, and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

                 a.    whether the federal securities laws were violated by Defendants’ conduct

                       alleged herein;

                 b.    whether statements made by Defendants to the investing public during the

                       Class Period misrepresented and/or omitted material facts about the

                       business, operations, and management of DryShips;

                 c.    whether Defendants acted knowingly or recklessly in issuing false and

                       misleading financial statements;

                 d.    whether the prices of DryShips securities during the Class Period were

                       artificially inflated because of the Defendants’ conduct complained of

                       herein;




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                e.    whether Class members have sustained damages and, if so, the proper

                      measure of damages; and

                f.    whether Defendants’ manipulative conduct negatively impacted the price of

                      DryShips stock.

                A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy, since joinder of all members is impracticable. Further, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of individual litigation makes it impossible for Class members to individually redress the wrongs

 done to them. There will be no difficulty in the management of this action as a class action.

                Plaintiffs will rely, in part, upon the presumption of reliance established by the

 fraud-on-the-market doctrine in that:

                a.    Defendants made public misrepresentations or failed to disclose material facts

                      during the Class Period;

                b.    the omissions and misrepresentations were material;

                c.    DryShips securities are traded in an efficient market;

                d.    the Company’s shares were liquid and traded with moderate to heavy volume

                      during the Class Period;

                e.    the Company traded on the NASDAQ and was covered by multiple analysts;

                f.    the misrepresentations and omissions alleged would tend to induce a

                      reasonable investor to misjudge the value of the Company’s securities; and

                g.    Plaintiffs and members of the Class had no knowledge of the omitted or

                      misrepresented facts.




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                 Alternatively, Plaintiffs and members of the Class are entitled to the presumption

 of reliance established by the Supreme Court in Affiliated Ute Citizens of Utah v. United States,

 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in their Class

 Period statements in violation of a duty to disclose such information, as detailed above.

 IX.     NO SAFE HARBOR

                 The statutory safe harbor provided for forward-looking statements under certain

 circumstances does not apply to any of the statements alleged to be false or misleading herein that

 relate to then-existing facts and conditions, nor does it apply to any material omissions alleged

 herein. To the extent that statements alleged to be false or misleading are characterized as forward-

 looking, the statutory safe harbor does not apply to such statements because they were not

 sufficiently identified as “forward-looking statements” when made, there were no meaningful

 cautionary statements identifying important factors that could cause actual results to differ

 materially from those in the forward-looking statements, and Defendants had actual knowledge

 that the forward-looking statements were materially false or misleading at the time each such

 statement was made. Moreover, the safe harbor does not apply to material omissions.

                                           COUNT I
       Violations of §10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                     Against All Defendants

                 Plaintiffs repeat and reallege each and every allegation set forth above as if fully

 set forth herein.

                 Defendants, by their conduct alleged herein, violated Section 10(b) of the Exchange

 Act, 15 U.S.C. §78(j)(b), and Rule 10b-5 (a), (b), and (c), promulgated thereunder by the SEC.

                 During the Class Period, Defendants carried out a plan, scheme, and course of

 conduct, which was intended to, and throughout the Class Period did, (a) deceive the investing

 public, including Plaintiffs and the Class, as alleged herein; and (b) cause Plaintiffs and other

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 members of the Class to purchase DryShips’ common stock at artificially inflated and distorted

 prices. In furtherance of this unlawful scheme, plan, and course of conduct, Defendants made the

 materially false and misleading statements alleged herein.

                 Each of the Defendants (a) employed devices, schemes, and artifices to defraud; (b)

 made, or participated in making, false statements of material facts and omitted to state material

 facts necessary to make the statements made by Defendants not misleading; and (c) engaged in

 acts, practices, and courses of conduct which operated as fraud and deceit upon the Class in

 connection with the purchase of DryShips common stock in violation of Section 10(b) of the

 Exchange Act and Rules 10b-5(a), (b), and (c). Defendants are sued as primary participants in the

 wrongful and illegal conduct alleged herein.

                 Defendants, individually and in concert, directly and indirectly, by the use, means,

 or instrumentalities of interstate commerce and/or of the U.S. mails, engaged and participated in a

 continuous course of conduct to manipulate the price of DryShips’ common stock and conceal

 their scheme, including through the creation and/or dissemination of false or misleading statements

 of material fact, as set forth herein.

                 Defendants’ liability arises from the fact that they developed and engaged in this

 scheme, and were privy to, participated in, and were otherwise aware of the dissemination of

 information to the investing public, which they knew, or recklessly disregarded that the nature of

 which, was materially false and misleading.

                 Defendants had actual knowledge of the misrepresentations, omissions, and

 deceptive conduct alleged herein, or acted with reckless disregard for the truth. Defendants’ acts

 were done for the purpose and effect of concealing the scheme alleged herein from the investing

 public and manipulating the price of DryShips’ common stock.



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                 Had Plaintiffs and the other Class members known the truth, which was not

 disclosed by Defendants, Plaintiffs and the other Class members would not have purchased, or

 otherwise acquired, DryShips common stock or, if they had acquired such securities during the

 Class Period, they would not have done so at the artificially inflated and distorted prices which

 they paid.

                 As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

 the other Class members suffered damages.

                 By reason of the foregoing, Defendants violated §10(b) of the Exchange Act and

 Rule 10b-5(a), (b), and (c) promulgated thereunder, and they are liable to Plaintiffs and the Class

 for damages suffered in connection with their transactions in DryShips common stock during the

 Class Period.

                                             COUNT II
                                Violation of §9 of the Exchange Act
                                      Against All Defendants

                 Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

                 Defendants violated §9 of the Exchange Act in that they conspired to engage and

 did engage in a deceptive financing scheme to manipulate the price of DryShips common stock

 and induce the purchase of DryShips common stock by others, in violation of §9(a)(2) of the

 Exchange Act.

                 Further, to induce the purchase of DryShips common stock, through their

 dissemination of false statements during the Class Period, Defendants misled investors concerning

 the nature of their actions and its effect on DryShips common stock in violation of §9(a)(4) of the

 Exchange Act.



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                 As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

 members of the Class suffered damages in connection with their respective purchases and sales of

 DryShips common stock during the Class Period.


                                            COUNT III
                              Violation of §20(a) of the Exchange Act
                                Against the Individual Defendants

                 Plaintiffs repeat and reallege each and every allegation set forth above as if fully

 set forth herein.

                 DryShips is a primary violator of §10(b) of the Exchange Act and Rule 10b-5

 promulgated thereunder as alleged herein.

                 The Individual Defendants acted as controlling persons of DryShips within the

 meaning of §20(a) of the Exchange Act. Each of the Individual Defendants participated in the

 day-to-day operations and management of the Company and, therefore, is presumed to have had

 the power to control or influence, and, during the Class Period, did exercise their power to control

 and influence, DryShips’ conduct giving rise to the violations of the federal securities laws alleged

 herein. In addition, the Individual Defendants were able to, and did, control the content of the

 various SEC filings, press releases, and other public statements pertaining to the Company during

 the Class Period.

                 By virtue of their positions as controlling persons of DryShips, and by reason of

 the conduct described in this Count, the Individual Defendants are liable pursuant to §20(a) of the

 Exchange Act for the primary violations of Section 10(b) of the Exchange Act and Rule 10b-5(a),

 (b), and (c), committed by DryShips.

 X.      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:


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        A.      Determining that this action is a proper class action under Fed. R. Civ. P. 23;

        B.      Awarding compensatory damages in favor of Plaintiffs and all other Class members

 against all Defendants, jointly and severally, for all damages sustained as a result of Defendants’

 wrongdoing, in an amount to be proven at trial, including interest thereon;

        C.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

 this action, including counsel and expert fees; and

        D.      Such other and further relief as the Court may deem just and proper.

 XI.    JURY TRIAL DEMANDED

        Plaintiffs hereby demand a trial by jury.

 DATED: May 28, 2020
        New York, New York
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